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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    ICON AIRCRAFT, INC., et al., 1                                Case No. 24-10703 (CTG)

                                  Debtors.                        (Jointly Administered)


                             SCHEDULES OF ASSETS AND LIABILITIES FOR
                               ICON AIRCRAFT, INC. (CASE NO. 24-10703)




___________________________________________________
1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are: ICON Aircraft, Inc. (7443); Rycon LLC (5297); IC Technologies Inc. (7918);
and ICON Flying Club, LLC (6101). The Debtors’ service address is 2141 ICON Way, Vacaville, CA
95688.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    ICON AIRCRAFT, INC., et al.,1                                   Case No. 24-10703 (CTG)

                              Debtors.                              (Jointly Administered)


        GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
        ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                 ICON Aircraft, Inc., Rycon LLC, IC Technologies Inc, and ICON Flying Club,
LLC (individually, a “Debtor” and collectively, the “Debtors”) in the above-captioned chapter 11
cases (the “Chapter 11 Cases”), hereby submit their Schedules of Assets and Liabilities
(collectively, the “Schedules”) and Statements of Financial Affairs (collectively, the “Statements,”
and together with the Schedules, the “Schedules and Statements”) pursuant to section 521 of the
Bankruptcy Code (as defined below) and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

               On April 4, 2024 (the “Petition Date”), the Debtors commenced the Chapter 11
Cases by filing voluntary petitions for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) with the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”). The Debtors are authorized to operate their business as debtors-in-
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                The Schedules and Statements were prepared by the Debtors’ Chief Restructuring
Officer, management, and advisors and are unaudited. While those members of management
responsible for the preparation of the Schedules and Statements have made a reasonable effort to
ensure that the Schedules and Statements are accurate and complete based on information known
to them at the time of preparation after reasonable inquiries, inadvertent errors or omissions may
exist and/or the subsequent receipt of information may result in material changes in financial and
other data contained in the Schedules and Statements. Accordingly, the Debtors reserve their
rights to amend and/or supplement their Schedules and Statements from time to time as may be
necessary or appropriate.

               The Debtors and their agents, attorneys, and financial advisors do not guarantee or
warrant the accuracy or completeness of the data that is provided herein and shall not be liable for
any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,

1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are: ICON Aircraft, Inc. (7443), Rycon LLC (5297), IC Technologies Inc. (7918), and ICON Flying
      Club, LLC (6101). The Debtors’ service address is 2141 ICON Way, Vacaville, CA 95688.
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whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained therein. Except as required by the
Bankruptcy Code, the Debtors and their agents, attorneys, and financial advisors expressly do not
undertake any obligation to update, modify, revise, or re-categorize the information provided in
the Schedules and Statements, or to notify any third party should the information be updated,
modified, revised, or re-categorized. In no event shall the Debtors or their agents, attorneys, and
financial advisors be liable to any third party for any direct, indirect, incidental, consequential, or
special damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business, or lost profits),
whether foreseeable or not and however caused, even if the Debtors or their agents, attorneys, and
financial advisors are advised of the possibility of such damages.
               These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(these “Global Notes”) are incorporated by reference in, and comprise an integral part of, the
Schedules and Statements, and should be referred to and reviewed in connection with any review
of the Schedules and Statements. In the event that the Schedules and Statements differ from these
Global Notes, these Global Notes shall control.2
General Notes
Reservation of Rights. The Debtors reserve the right to dispute, or to assert setoff or other defenses
to, any claim reflected in the Schedules and Statements as to amount, liability, and classification.
The Debtors also reserve all rights with respect to the values, amounts, and characterizations of
the assets and liabilities listed in the Schedules and Statements.
Basis of Presentation. The Schedules and Statements reflect the assets and liabilities of the
Debtors. The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles (“GAAP”), nor are they intended
to reconcile to the financial statements previously distributed on an intermittent basis (to the extent
applicable). It should also be noted that the Debtors use a consolidated cash management system
through which the Debtors pay substantially all liabilities and expenses. The Schedules and
Statements have been signed by Thomas McCabe, Chief Restructuring Officer of the Debtors. In
reviewing and signing the Schedules and Statements, Mr. McCabe necessarily relied upon the
efforts, statements, and representations of the Debtors’ accounting and non-accounting personnel
who report to, or work with, Mr. McCabe, either directly or indirectly. Mr. McCabe has not, and
could not have, personally verified the accuracy of each such statement and representation,
including statements and representations concerning amounts owed to creditors.



2
    These Global Notes are in addition to any specific notes that may be contained in each of the Schedules or
    Statements. The fact that the Debtors have prepared a general note herein with respect to any of the Schedules
    and Statements and not to others should not be interpreted as a decision by the Debtors to exclude the applicability
    of such general note to the Debtors’ remaining Schedules and Statements, as appropriate.

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Date of Valuations. Except as otherwise noted in the Schedules and Statements, all assets and
liabilities are valued as of the Petition Date. The Schedules and Statements reflect the Debtors’
best effort to allocate the assets, liabilities, receipts, and expenses “as of” such dates. All values
are stated in United States currency. In certain instances, the Debtors may have used estimates or
pro-rated amounts where actual data as of the aforementioned dates was not available. The Debtors
made a reasonable effort to allocate liabilities between the pre- and post-petition periods based on
the information and research that was conducted in connection with the preparation of the
Schedules and Statements. As additional information becomes available and further research is
conducted, the Debtors may modify the allocation of liabilities between the pre- and post-petition
periods and amend the Schedules and Statements accordingly.
Unless otherwise indicated herein or in the Schedules and Statements, all financial
information for the Debtors in the Schedules and Statements and these Global Notes is
provided as of the Petition Date or as close thereto as reasonably practicable under the
circumstances.
Book Value. Except as otherwise noted, each asset and liability of the Debtors is shown on the
basis of net book value of the asset or liability in accordance with the Debtors’ accounting books
and records. Therefore, unless otherwise noted, the Schedules and Statements are not based upon
any estimate of the current market values of the Debtors’ assets and liabilities, which may not
correspond to book values. It would be cost prohibitive and unduly burdensome to obtain current
market valuations of the Debtors’ property interests. Except as otherwise noted, the Debtors’
assets are presented, in detail, as they appear on the Debtors’ accounting sub-ledgers. As such, the
detail may include error corrections and value adjustments (shown as negative values or multiple
line items for an individual asset). The Debtors believe that certain of their assets, including
intangible assets, may have been impaired by, among other things, the events leading to, and the
commencement of, these Chapter 11 Cases.
First Day Orders. Pursuant to various “first day” orders and any supplements or amendments to
such orders entered by the Bankruptcy Court (each, a “First Day Order,” and collectively, the “First
Day Orders”), the Debtors and their estates are authorized to pay certain prepetition claims,
including, without limitation, certain claims relating to employee wages and benefits, claims for
taxes and fees, and claims related to insurance programs. The Debtors have not included certain
claims of this nature in the Schedules and Statements to the extent that such claims were paid under
the First Day Orders.
Setoffs. To the extent the Debtors have incurred or effectuated any ordinary course setoffs with
third parties (including, without limitation, customers and vendors) prior to the Petition Date, or
are subject to the occurrence of, or maintain the right to effectuate, ordinary course setoffs on
account of activities occurring prior to the Petition Date, such setoffs are excluded from the
Schedules and Statements. The Debtors and their estates reserve all rights with respect to any such
setoffs.
Re-characterization. Notwithstanding the Debtors’ commercially reasonable efforts to properly
characterize, classify, categorize, or designate certain claims, assets, executory contracts,

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unexpired leases, and other items reported in the Schedules and Statements, the Debtors may,
nevertheless, have improperly characterized, classified, categorized, designated, or omitted certain
items due to the complexity and size of the Debtors’ business. Accordingly, the Debtors reserve
all of their rights to re-characterize, reclassify, re-categorize, re-designate, add, or delete items
reported in the Schedules and Statements at a later time as is necessary or appropriate as additional
information becomes available, including, without limitation, whether contracts or leases listed
herein were deemed executory or unexpired as of the Petition Date and remain executory and
unexpired postpetition.
Causes of Action. The Debtors have made their best efforts to set forth any known causes of
action against third parties as assets in their Schedules and Statements. The Debtors reserve all of
their rights with respect to causes of action they may have, whether disclosed or not disclosed, and
neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such
causes of action.
Litigation. The inclusion of any litigation action in the Schedules and Statements does not
constitute an admission by the Debtors of liability, the validity of any litigation action or the
amount of any potential claim that may result from any claims with respect to any litigation action,
or the amount and treatment of any potential claim resulting from any litigation action that may
arise in the future.
Credits and Adjustments. Claims of creditors and/or prepayments from clients are listed in the
amounts entered on the Debtors’ books and records, and may not reflect certain credits,
allowances, or other adjustments due from such creditors to the Debtors. The Debtors and their
estates reserve all rights with regard to any such credits, allowances, and other adjustments,
including, without limitation, the right to assert claims, objections, setoffs, and recoupments with
respect to the same.
Claims. The Debtors and their estates reserve all rights to dispute, and to assert any offsets or
defenses to, any claim reflected on the applicable Schedule on any grounds, including, without
limitation, amount, liability, validity, priority, or classification, and to subsequently designate any
claim as “disputed,” “contingent,” or “unliquidated.”
Any failure to designate a claim listed on the Debtors’ Schedules as “disputed,” “contingent,” or
“unliquidated” does not constitute an admission by the Debtors that the claim is not “disputed,”
“contingent,” or “unliquidated. The Debtors reserve the right to (i) object to or otherwise dispute
or assert setoff rights, cross-claims, counterclaims, or defenses to, any claim reflected on the
Schedules or (ii) otherwise subsequently designate any claim as “disputed,” “contingent,” or
“unliquidated.”
The claims listed on the Schedules do not reflect any analysis of claims under section 503(b)(9) of
the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to dispute or challenge
the validity of any asserted claims under section 503(b)(9) of the Bankruptcy Code or the
characterization of the structure of any such transaction or any document or instrument related to
any creditor’s claim.

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The Debtors have excluded potential rejection damage claims of counterparties to executory
contracts and unexpired leases, to the extent such damage claims exist.
Employee Claims. The Bankruptcy Court entered a final order granting authority, but not
requiring, the Debtors to pay prepetition employee wages, salaries, benefits, and other related
obligations [Docket No. 145]. The Debtors currently expect that most prepetition employee claims
for wages, salaries, benefits, and other related obligations either have been paid or will be paid in
the ordinary course of business and, therefore, the Schedules and Statements do not include such
claims. The Debtors have not listed their regular payroll disbursements in Question 3 of the
Statements.
Reporting Policies. The description of an amount as “UNDETERMINED” is not intended to
reflect upon the materiality of such amount. All totals that are included in the Schedules and
Statements represent totals of all known amounts. To the extent that there are unknown or
undetermined amounts, the actual total may be different than the listed total.
Notes for Schedules of Assets and Liabilities
Schedule A/B – Real and Personal Property
Part 3, Item 11 – Accounts Receivable. The accounts receivable information listed on Schedule
A/B includes amounts that may be uncollectible. The Debtors are unable to determine with
complete certainty what amounts will actually be collected.
Part 9, Item 55 – Real Property. The Debtors do not own any real property, and all real estate
interests listed under Item 55 represent leased real property.
Part 11, Items 74 and 75 – Causes of Action and Other Claims. No avoidance actions available
under chapter 5 of the Bankruptcy Code have been listed, as the Debtors’ analysis of such matters
is ongoing. The Debtors’ failure to list any cause of action, claim, or right of any nature is not an
admission that such cause of action, claim, or right does not exist, and should not be construed as
a waiver of such cause of action, claim, or right.
Schedule D – Creditors Holding Claims Secured by Property
Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights to dispute
or challenge the validity, perfection, or immunity from avoidance of any lien purported to be
granted or perfected in any specific asset for the benefit of the secured creditor listed on Schedule
D. Moreover, the Debtors reserve all rights to dispute or challenge the secured nature of the claim
listed on Schedule D.
Real property lessors, utility companies, and other parties which may hold security deposits have
not been listed on Schedule D. The Debtors have not included parties that may assert claims
secured through setoff rights or inchoate statutory lien rights.




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Schedule E/F – Creditors Holding Unsecured Claims
Schedule E/F does not include certain deferred charges, deferred liabilities, accruals, or general
reserves. Such amounts are, however, reflected on the Debtors’ books and records as required in
accordance with GAAP. Such accruals are general estimates of liabilities and do not represent
specific claims as of the Petition Date.
Certain claims listed on Schedule E/F arose or were incurred on various dates. Although
reasonable efforts have been made to determine the date upon which claims listed in Schedule E/F
were incurred or arose, updating that date for each claim in Schedule E/F would be unduly
burdensome and cost-prohibitive and, therefore, the Debtors have not listed a date for each claim
listed on Schedule E/F.
The Debtors used reasonable efforts to assign address information to potential claimants identified
in Schedule F.
Part 3, Item 4 – Others to Be Notified. The Debtors have listed their known creditors in Schedule
E/F. To the extent attorneys have entered appearances on behalf of such creditors, those
appearances are noted on the docket of the Chapter 11 Cases and are not separately listed in Part
3, Item 4.
Schedule G – Executory Contracts and Unexpired Leases
The Debtors’ business is complex and, while every effort has been made to ensure the accuracy of
Schedule G, inadvertent errors or omissions may have occurred. Omission of a contract, lease, or
other agreement from Schedule G does not constitute an admission that such omitted contract,
lease, or agreement is not an executory contract or unexpired lease. Schedule G may be amended
at any time to add any omitted executory contracts, unexpired leases, and other agreements to
which a Debtor is a party, including, without limitation, to add any executory contracts, unexpired
leases, and other agreements that the Debtors, due to the voluminous number of such contracts,
leases, and agreements, were unable to list on Schedule G at this time.
There may be certain listings on Schedule G for which the Debtors were unable to locate a physical
agreement. Out of an abundance of caution, the Debtors have listed all known contracts and leases
on Schedule G, irrespective of whether the Debtors are in possession of a physical agreement.
Furthermore, the contracts, agreements, and leases listed on Schedule G may have expired or may
have been modified, amended, or supplemented from time to time by various amendments,
restatements, waivers, estoppel certificates, letter and other documents, instruments, and
agreements that may not be listed therein.
The Debtors hereby reserve all of their rights to (i) dispute the validity, status, or enforceability of
any contracts, agreements, or leases set forth in Schedule G and (ii) amend or supplement such
Schedule as necessary. Furthermore, the Debtors reserve all of their rights, claims, and causes of
action with respect to the contracts and agreements listed on the Schedules, including the right to
dispute or challenge the characterization or the structure of any transaction, document or


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instrument. The presence of a contract or agreement on Schedule G does not constitute an
admission that such contract or agreement is an executory contract or an unexpired lease.
The Debtors may not have identified the term date for contracts, agreements, or leases listed on
Schedule G. Given the limited resources at the Debtors’ disposal when preparing the Schedules
and Statements, the Debtors determined that completing this field would not be cost effective or
useful to parties reviewing the Schedules and Statements.
Notes for Statements of Financial Affairs
Part 2, Question 3 – Payments to Creditors Within 90 Days of Petition Date. The Debtors have
listed all payments made to creditors in the ninety (90) days prior to the Petition Date, except for
wages of insiders and employees, on an individual payment basis, and have not aggregated
payments by unique creditor. The data is presented in alphabetical order by vendor name.
Part 2, Question 4 – Payments or other Transfers of Property Made Within One Year Before Filing
That Benefitted any Insider. Solely for purposes of the Schedules and Statements, the Debtors
define “insiders” to include the following: (i) directors; (ii) senior level officers; (iii) significant
equity holders and/or their affiliates; (iv) vice presidents; and (v) relatives of any of the foregoing
(to the extent known by the Debtors). Entities listed as “insiders” have been included for
informational purposes and their inclusion shall not constitute an admission that those entities are
insiders for purposes of section 101(31) of the Bankruptcy Code.
The Debtors have listed the corporate headquarters’ address, in effect as of the Petition Date, for
each of the parties listed in Question 4.
The listing of a party as an Insider in the Schedules and Statements is not intended to be, nor shall
be, construed as a legal characterization or determination of such party as an actual insider and
does not act as an admission of any fact, claim, right, or defense, and all such rights, claims, and
defenses are hereby expressly reserved.

Part 11, Question 21 – Property Held for Another. In the ordinary course of business, the Debtors
provide routine maintenance services on airplanes for customers. The Debtors have not listed such
airplanes in response to Statement 21.
Part 13, Question 26.d – Books, Records and Financial Statements. The Debtors have provided
financial statements in the ordinary course of their business to numerous financial institutions,
creditors, and other parties within two (2) years immediately before the Petition Date. Considering
the number of such recipients and the possibility that such information may have been shared with
parties without the Debtors’ knowledge or consent or shared subject to confidentiality agreements,
the Debtors have not disclosed any parties that may have received such financial statements for
the purposes of Statement 26.d. Moreover, Debtors Rycon LLC and ICON Flying Club, LLC do
not have business operations and therefore do not have books and records.




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Part 13, Question 28 – Debtor’s Officers, Directors, Managing Members, General Partners,
Members in Control, Controlling Shareholders, or Other People in Control of the Debtor at the
Time of the Filing of this Case. The Debtors have provided percentage interests as of
December 31, 2023.
Part 13, Question 30.1 – Payments, Distributions, or Withdrawals Credited or Given to Insiders.
The Debtors have included a response to Part 13, Question 30 in Part 2, Question 4.



                              ***END OF GLOBAL NOTES***

       **SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE**




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 Fill in this information to identify the case:

 Debtor name: ICON Aircraft, Inc.

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                        Check if this is an
 Case number: 24-10703
                                                                                                                        amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
  1a. Real property:                                                                                                      $12,686,153.60
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                          $542,821,539.80
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                            $555,507,693.40
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                                  $0.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                   $7,493,450.33
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                 $195,255,876.23
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                    $202,749,326.56
 Lines 2 + 3a + 3b
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   Fill in this information to identify the case:

   Debtor name: ICON Aircraft, Inc.

   United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                         Check if this is an
   Case number: 24-10703
                                                                                                                                                         amended filing


 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15

  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (Official Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.


  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
            Petty Cash                                                                                                                                               $417.63

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                           Type of account                  Last 4 digits of account #


 3.1
           East West Bank                                                   Customer Deposit             3931                                                  $1,154,853.76
                                                                            Accounts


 3.2
           East West Bank                                                   Investor Deposit Account     2101                                                        $908.88

 3.3
           PayPal                                                           Cash Account                 N/A                                                            $0.00


 3.4
           Silicon Valley Bank                                              General                      1290/0105                                                      $0.42


 3.5
           Silicon Valley Bank                                              Money Market Account -       1776                                                           $0.00
                                                                            Merchant

 3.6
           Sillicon Valley Bank                                             SVB Account                  9591                                                     $50,000.00
Debtor     ICON Aircraft, Inc.______________________________________________________               Case number (if known) 24-10703________________________________________
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  3.7
            Sillicon Valley Bank                                            Merchandise Account          0764                                                         $5.35

  3.8
            Wells Fargo                                                     Benefits and Payroll         6363                                                  $133,573.04
                                                                            Account


  3.9
            Wells Fargo                                                     Adequate Assurance           7972                                                         $0.00
                                                                            Account

  3.10
            Wells Fargo                                                     Customer Deposit             4969                                                   $15,297.00
                                                                            Accounts


  3.11
            Wells Fargo                                                     Primary Account              7964                                                  $137,510.84

  4. Other cash equivalents (Identify all)
  4.1
            Wells Fargo CD - Account #4773 - Matures Sept 2024                                                                                                 $250,000.00

  5. Total of Part 1
  Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                            $1,742,566.92


  Part 2:     Deposits and prepayments

  6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.

        Yes. Fill in the information below.

                                                                                                                                       Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            Advanced Air LLC - SoCal Hangar Security Deposit                                                                                                       $750.00


  7.2
            Buzz Oates Management Services - VCB security deposit                                                                                              $344,134.30


  7.3
            Central Valley Industrial Core Holdings - Security Deposit                                                                                          $55,865.70

  7.4
            County of Solano Lease (Fence deposit) - Security Deposit                                                                                           $24,850.00

  7.5
            PG&E - Security Deposit                                                                                                                               $2,153.00

  7.6
            Solano Irrigation District - Security Deposit                                                                                                         $5,000.00


  7.7
            Sports Trailers - Trailer Deposit                                                                                                                   $36,122.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            Abtech - Pre-Paid Trade                                                                                                                               $1,398.58
Debtor   ICON Aircraft, Inc.______________________________________________________       Case number (if known) 24-10703________________________________________
         Name
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  8.2
          Acorn Paper - Pre-Paid Trade                                                                                                                $2,968.38

  8.3
          AE Grafiz - Pre-Paid Trade                                                                                                                  $2,175.50

  8.4
          Aircraft Spruce - Pre-Paid Trade                                                                                                              $708.75

  8.5
          Airfilm - Pre-Paid Trade                                                                                                                   $34,000.00

  8.6
          Applied Cax, LLC - Pre-Paid Services                                                                                                       $12,925.50

  8.7
          Associated Spring Raymond - Pre-Paid Trade                                                                                                    $947.00

  8.8
          ATSM International - Pre-Paid Services                                                                                                      $1,074.17

  8.9
          Austin R - Pre-Paid Trade                                                                                                                     $262.54

  8.10
          Bambulab - Pre-Paid Trade                                                                                                                      $34.02

  8.11
          Beringer - Pre-Paid Trade                                                                                                                   $6,027.84

  8.12
          BRS Aerospace - Pre-Paid Inventory                                                                                                        $138,202.01

  8.13
          BRS Aerospace - Pre-Paid Trade                                                                                                            $159,341.74

  8.14
          CA Secretary of State - Pre-Paid Trade                                                                                                         $30.00


  8.15
          Cable Manufacturing & Assembly Co - Pre-Paid Inventory                                                                                      $8,479.54

  8.16
          Central Valley Industrial Core Holding, LLC - Pre-Paid Maintenance                                                                         $76,757.00

  8.17
          Central Valley Industrial Core Holding, LLC - Pre-Paid Maintenance                                                                         $15,227.00

  8.18
          Checkr - Pre-Paid Trade                                                                                                                       $519.89


  8.19
          Chemtrec - Pre-Paid Maintenance                                                                                                                $83.33

  8.20
          City of Vacaville - Pre-Paid Trade                                                                                                            $579.00

  8.21
          Conex West - Prepaid Rent                                                                                                                     $338.44
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  8.22
          Connectwise - Pre-Paid Services                                                                                                                   $1,404.00

  8.23
          County of Solano - Pre-Paid Maintenance                                                                                                             $888.00


  8.24
          D & K Rentals - Pre-Paid Marketing Rental                                                                                                           $460.00

  8.25
          DHL - Pre-Paid Trade                                                                                                                                 $61.44

  8.26
          DocuSign, Inc. - Pre-Paid Services                                                                                                                $7,170.50

  8.27
          Donghui Tech Co - Pre-Paid Trade                                                                                                                  $6,770.00

  8.28
          East West Bank - Pre-Paid Interest                                                                                                              $403,147.91

 Footnote: Funds held in Money Market account established for East West Bank (Account ending in 6481). The Debtor's do not have access and consider this cash to be a pre-
 payment on interest over the life of the Loan.


  8.29
          Edmo Distributors Inc - Pre-Paid Trade                                                                                                            $2,365.07

  8.30
          E-Prop - Pre-Paid Trade                                                                                                                           $1,847.50

  8.31
          Eric China - Pre-Paid Inventory                                                                                                                   $4,627.24

  8.32
          Farella Braun & Martel - Retainer                                                                                                                $15,000.00

  8.33
          Fedex Freight - Pre-Paid Trade                                                                                                                      $195.13


  8.34
          Fisheries - Pre-Paid Trade                                                                                                                          $810.61

  8.35
          Flight Schedule Pro - Pre-Paid Services                                                                                                           $8,620.73

  8.36
          Garmin - Pre-Paid Trade                                                                                                                           $1,297.50

  8.37
          GM Financial - Pre-Paid Trade                                                                                                                     $2,551.34

  8.38
          Grainger - Pre-Paid Trade                                                                                                                           $234.70

  8.39
          Harris Industrial Gases - Pre-Paid Trade                                                                                                             $51.65

  8.40
          He-Government payments - Pre-Paid Trade                                                                                                              $13.00

  8.41
          Helices E-props - Pre-Paid Trade                                                                                                                  $1,301.00
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  8.42
          HongMing HK Industrial - Pre-Paid Trade                                                                                                     $2,519.67

  8.43
          HR Procurement - Costco - Pre-Paid Trade                                                                                                      $223.46

  8.44
          Incorporating Services - Pre-Paid Trade                                                                                                       $369.70

  8.45
          Incorporating Services, Ltd. - Pre-Paid Facility Fee                                                                                          $240.00

  8.46
          Interstate Oil - Pre-Paid Trade                                                                                                             $3,147.54

  8.47
          IT1Source - Pre-Paid Services                                                                                                               $5,482.98

  8.48
          JT Stealth - Pre-Paid Trade                                                                                                                 $5,040.00

  8.49
          Latham & Watkins - Retainer                                                                                                               $200,000.00

  8.50
          Lockwood Aviation Supply - Pre-Paid Trade                                                                                                   $8,057.78

  8.51
          MaCarter & English - Retainer                                                                                                             $100,000.00


  8.52
          Mallon & Blatcher - Pre-Paid Services                                                                                                       $4,237.50


  8.53
          Marsh USA, Inc. - Pre-Paid Insurance Auto                                                                                                  $22,997.50

  8.54
          Marsh USA, Inc. - Pre-Paid Insurance Blended Coverage                                                                                      $74,289.60


  8.55
          Marsh USA, Inc. - Pre-Paid Insurance Blended Coverage                                                                                       $4,198.67

  8.56
          Marsh USA, Inc. - Pre-Paid Insurance Excess D&O                                                                                           $167,916.88

  8.57
          Marsh USA, Inc. - Pre-Paid Insurance Excess D&O                                                                                            $61,908.00

  8.58
          Marsh USA, Inc. - Pre-Paid Insurance International                                                                                          $2,072.00

  8.59
          Marsh USA, Inc. - Pre-Paid Insurance Prod Liability                                                                                        $20,415.00

  8.60
          Marsh USA, Inc. - Pre-Paid Insurance Property                                                                                             $129,626.50

  8.61
          Marsh USA, Inc. - Pre-Paid Insurance Special Hull WAR                                                                                      $24,062.50
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  8.62
          Marsh USA, Inc. - Pre-Paid Insurance Special Risk                                                                                           $1,579.50

  8.63
          Marsh USA, Inc. - Pre-Paid Insurance Workers Comp                                                                                          $26,896.50

  8.64
          Mavi Ida - Pre-Paid Trade                                                                                                                   $1,430.00

  8.65
          Million Air White Plains - Prepaid Trade                                                                                                    $2,090.00

  8.66
          Motion Industries - Pre-Paid Trade                                                                                                            $227.62

  8.67
          Motive Aero - Pre-Paid Trade                                                                                                                $1,197.58

  8.68
          Motive Aero Llc - Trade Pre-Payment                                                                                                         $7,507.50

  8.69
          Napa Store - Pre-Paid Trade                                                                                                                   $200.01

  8.70
          Newton Consulting - Pre-Paid Services                                                                                                          $50.00

  8.71
          Newton Consulting - Pre-Paid Trade                                                                                                            $368.61

  8.72
          Nut Tree Airport - Pre-Paid Trade                                                                                                             $934.70

  8.73
          Odgers Brendtson - Retainer                                                                                                                $82,667.00

  8.74
          Pantheon System, Inc - Pre-Paid Services                                                                                                    $3,910.96


  8.75
          Phillips Competer - Retainer                                                                                                                $2,500.00

  8.76
          R&W Rope - Pre-Paid Trade                                                                                                                       $2.80


  8.77
          Rainier Flight Service - Trade                                                                                                                $800.00


  8.78
          REI - Pre-Paid Trade                                                                                                                          $348.30


  8.79
          Rockwell Automation Inc. - Pre-Paid Services                                                                                               $50,532.00


  8.80
          RS Flight - Pre-Paid Trade                                                                                                                  $2,730.00


  8.81
          Salesforce.com Inc - Pre-Paid Services                                                                                                     $64,092.90
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  8.82
           SCS - Pre-Paid Materials                                                                                                                   $10,138.35


  8.83
           Sealit - Pre-Paid Trade                                                                                                                       $308.39


  8.84
           Secretary of State of Web - Pre-Paid Trade                                                                                                    $155.00


  8.85
           SecureDocs Inc - Pre-Paid Services                                                                                                          $1,000.00


  8.86
           Shapeways - Pre-Paid Trade                                                                                                                  $2,341.26


  8.87
           Siemens Industry, Inc. - Pre-Paid Facility Fee                                                                                              $3,404.42


  8.88
           Skygeek.Com - Pre-Paid Trade                                                                                                                  $151.77


  8.89
           Solano County Treasury - Pre-Paid Taxes                                                                                                     $9,666.67

  8.90
           Solano County Treasury - Pre-Paid Taxes                                                                                                    $42,281.52

  8.91
           Solium OptionEase Inc - Pre-Paid Services                                                                                                   $4,805.00

  8.92
           Sport trailers, LLC - Pre-Paid Trade                                                                                                       $55,275.00

  8.93
           Sports Trailers - Pre-Paid Trade                                                                                                          $117,523.00

  8.94
           Spot - Pre-Paid Trade                                                                                                                         $143.40


  8.95
           Sunbiz - Pre-Paid Trade                                                                                                                       $150.00

  8.96
           Trelleborg - Pre-Paid Trade                                                                                                                 $7,730.00

  8.97
           Tristar invoice allocation - Pre-Paid Services                                                                                             $12,500.00

  8.98
           TriStar, Inc. - Pre-Paid Services                                                                                                          $49,701.63


  8.99
           USPS - Pre-Paid Trade                                                                                                                          $16.10


  8.100
           Verisurf - Pre-Paid Services                                                                                                               $11,475.00


  8.101
           West Marine Pro - Pre-Paid Trade                                                                                                              $229.48
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  8.102
            Williams Scotsman, Inc. - Prepaid Trade                                                                                                                       $5,919.82


  8.103
            Williams Scotsman, Inc. - Prepaid Trade                                                                                                                       $1,051.11


  8.104
            Zoho Corporation - Pre-Paid Services                                                                                                                           $796.67

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                    $2,813,407.40


  Part 3:    Accounts receivable

  10. Does the debtor have any accounts receivable?

     No. Go to Part 4.

     Yes. Fill in the information below.

                                                                                                                                               Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                               $120,903.03       —                                         $0.00    = ........                              $120,903.03
            less:
                                    face amount                                 doubtful or uncollectible accounts

  11b.      Over 90 days old:                            $262,395.18       —                                    $22,849.02    = ........                              $239,546.16

                                    face amount                                 doubtful or uncollectible accounts

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                      $360,449.19


  Part 4:    Investments

  13. Does the debtor own any investments?

     No. Go to Part 5.

     Yes. Fill in the information below.

                                                                                                 Valuation method used for current             Current value of debtor’s interest
                                                                                                 value

  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
            None                                                                                                                                                              $0.00

  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
            IC Technologies Inc.                               100.0%                           None                                           Undetermined


  15.2
            ICON Flying Club, LLC                              100.0%                           None                                           Undetermined


  15.3
            Rycon LLC                                          100.0%                           None                                           Undetermined
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  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
            None                                                                                                                                                 $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                $0.00


  Part 5:    Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.


   General description                                       Date of      Net book value of           Valuation method used       Current value of debtor’s interest
                                                             the last     debtor's interest           for current value
                                                             physical     (Where available)
                                                             inventory
  19. Raw materials
  19.1
            Purchased Components - Main                     March                $1,093,107.45      Net Book Value                                      $1,093,107.45
                                                            2023

  19.2
            Allowance for Obsolete Inventory - Main         March                  $-54,870.13      Net Book Value                                         $-54,870.13
                                                            2023

  20. Work in progress
  20.1
            Work in Process - Main                          March                $2,373,080.26      Net Book Value                                      $2,373,080.26
                                                            2023


  20.2
            Inventory - Adjustment                          March                     $9,594.18     Net Book Value                                           $9,594.18
                                                            2023

  21. Finished goods, including goods held for resale
  21.1
            Finished Goods - Main                           March                $3,114,331.68      Net Book Value                                      $3,114,331.68
                                                            2023


  21.2
            Inventory LCM reserve                           March                $-1,663,422.6      Net Book Value                                      $-1,663,422.60
                                                            2023

  22. Other inventory or supplies
  22.1
            Merchandise inventory-Main-Main                 April 2024              $40,431.03      Net Book Value                                         $40,431.03

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                       $4,912,251.87


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes
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  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
                     Book value             $369,064.35              Valuation method   Cost                                 Current value                      $369,064.35
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes

  Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.

   General description                                                          Net book value of           Valuation method used        Current value of debtor’s interest
                                                                                debtor's interest           for current value
                                                                                (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                        $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
  29.1
                                                                                                                                                                        $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                        $0.00

  31. Farm and fishing supplies, chemicals, and feed
  31.1
                                                                                                                                                                        $0.00

  32. Other farming and fishing-related property not already listed in Part 6
  32.1
                                                                                                                                                                        $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                       $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                        No

                        Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
                   Book value                                       Valuation method                                       Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes
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  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes

  Part 7:    Office furniture, fixtures, and equipment; and collectibles

  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.


   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
                                                                                      debtor's interest                 for current value
                                                                                      (Where available)
  39. Office furniture
  39.1
            Furniture and Fixtures                                                               $161,719.89          Net Book Value                                                $161,719.89


  39.2
            Furniture and Fixtures (Accumulated Depreciation)                                   $-152,477.09          Net Book Value                                               $-152,477.09

  40. Office fixtures
  40.1
            See Schedule A/B Question 39                                                                                                                                                    $0.00

  41. Office equipment, including all computer equipment and communication systems equipment and software
  41.1
            Comp Hardware and Office Equipment                                                 $1,284,409.61          Net Book Value                                              $1,284,409.61


  41.2
            Comp Hardware and Office Equipment (Accumulated                                   $-1,269,890.53          Net Book Value                                              $-1,269,890.53
            Depreciation)

  41.3
            Software                                                                           $1,153,148.17          Net Book Value                                              $1,153,148.17

  41.4
            Software (Accumulated Depreciation)                                               $-1,140,318.17          Net Book Value                                              $-1,140,318.17

  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
            None                                                                                                                                                                            $0.00

  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                    $36,591.88


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes
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  Part 8:   Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.


   General description                                                            Net book value of               Valuation method used          Current value of debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,              debtor's interest               for current value
   HIN, or N-number)                                                              (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
  2018 Chevrolet Tahoe 1GNSKBKC4JR203127                                                           $0.00        Net Book Value                                                  $0.00

  47.2
  2018 Chevrolet Tahoe 1GNSKBKC0JR132816                                                           $0.00        Net Book Value                                                  $0.00

  47.3
  2018 Chevrolet Tahoe 1GNSKBKC9JR199365                                                           $0.00        Net Book Value                                                  $0.00

  47.4
  2018 Chevrolet Tahoe 1GNSKCKC2JR305015                                                           $0.00        Net Book Value                                                  $0.00


  47.5
  2019 Chevrolet Tahoe 1GNSKBKC6KR111339                                                           $0.00        Net Book Value                                                  $0.00


  47.6
  2015 Mercedes-B Sprinter WD3PF4CC5F5953528                                                       $0.00        Net Book Value                                                  $0.00


  47.7
  2015 Mercedes-B Sprinter WD3PF4CC2F5952336                                                       $0.00        Net Book Value                                                  $0.00


  47.8
  2015 Ford F Series S 1FT8W3BT6FEC36013                                                           $0.00        Net Book Value                                                  $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels
  48.1
  2008 Bear ICON Amphib Prototype 1B94C272X8C403691                                                $0.00        Net Book Value                  Undetermined

  48.2
  2016 Boatmate ICON Amphib 5A7BB2927HT002072                                                      $0.00        Net Book Value                  Undetermined

  48.3
  2016 Boatmate ICON Amphib Mule 5A7BB2926GT002885                                                 $0.00        Net Book Value                  Undetermined

  48.4
  2017 Boatmate ICON Amphib 5A7BB3025HT000131                                                      $0.00        Net Book Value                  Undetermined

  48.5
  2018 Extreme AM Trailer 1E9BF3021JN378004                                                        $0.00        Net Book Value                  Undetermined

  48.6
  2018 Extreme EN Trailer 1E9BF3025JN378006                                                        $0.00        Net Book Value                  Undetermined


  48.7
  2018 Extreme EN Trailer 1E9BF3026JN378001                                                        $0.00        Net Book Value                  Undetermined

  48.8
  2018 Extreme EN Trailer 1E9BF3027JN378007                                                        $0.00        Net Book Value                  Undetermined
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  48.9
  2018 Extreme EN Trailer 1E9BF3029JN378008                                            $0.00     Net Book Value               Undetermined

  48.10
  2018 Extreme EN Trailer 1E9BF302XJN378003                                            $0.00     Net Book Value               Undetermined

  48.11
  2018 Extreme EN Trailer 1E9EE3423JN378001                                            $0.00     Net Book Value               Undetermined

  48.12
  2019 Boatmate ICON Amphib 5A7BB3020KT001355                                          $0.00     Net Book Value               Undetermined

  48.13
  2021 Carrier Trailer CA1189757                                                       $0.00     Net Book Value               Undetermined

  48.14
  2021 Carrier Trailer CA1189760                                                       $0.00     Net Book Value               Undetermined

  48.15
  2021 Carrier Trailer CA1189761                                                       $0.00     Net Book Value               Undetermined

  48.16
  2022 Sport Trailer 7MKEA24T4N1000208                                            $17,418.25     Net Book Value                                        $17,418.25

  49. Aircraft and accessories
  49.1
  Aircraft - ASN3                                                                 $53,103.92     Net Book Value                                        $53,103.92

  49.2
  Aircraft ASN2                                                                   $46,467.23     Net Book Value                                        $46,467.23

  49.3
  Aircraft - ASN9                                                                 $61,952.84     Net Book Value                                        $61,952.84

  49.4
  Aircraft - ASN12                                                                $66,377.30     Net Book Value                                        $66,377.30

  49.5
  Aircraft ASN21                                                                  $86,287.37     Net Book Value                                        $86,287.37

  49.6
  Aircraft - ASN73                                                               $171,940.46     Net Book Value                                       $171,940.46

  49.7
  Aircraft ASN75                                                                 $173,056.25     Net Book Value                                       $173,056.25

  49.8
  Aircraft ASN 117                                                               $233,593.82     Net Book Value                                       $233,593.82

  49.9
  Aircraft ASN 151                                                               $344,888.84     Net Book Value                                       $344,888.84

  49.10
  Aircraft ESN - FAA reg# TN730BA                                                 $18,233.88     Net Book Value                                        $18,233.88
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  50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
  50.1
  Machinery & Equipment                                                                $2,861,542.03         Net Book Value                                   $2,861,542.03

  50.2
  Machinery & Equipment (Accumulated Depreciation)                                     $-1,405,646.46        Net Book Value                                  $-1,405,646.46


  50.3
  Tooling - Composites - Layup                                                           $741,987.05         Net Book Value                                    $741,987.05


  50.4
  Tooling - Composites - Layup (Accumulated Depreciation)                               $-210,409.15         Net Book Value                                    $-210,409.15


  50.5
  Tooling - Non-Composites - Main                                                      $1,315,862.05         Net Book Value                                   $1,315,862.05


  50.6
  Tooling - Non-Composites - Main (Accumulated Depreciation)                           $-1,308,025.25        Net Book Value                                  $-1,308,025.25


  50.7
  Tooling - R&D                                                                            $1,260.68         Net Book Value                                       $1,260.68

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                            $3,269,891.11


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:    Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
   Description and location of property                        Nature and extent of           Net book value of               Valuation method used   Current value of
   Include street address or other description such as         debtor’s interest in           debtor's interest               for current value       debtor’s interest
   Assessor Parcel Number (APN), and type of property          property                       (Where available)
   (for example, acreage, factory, warehouse,
   apartment or office building), if available.

  55.1
            Vacaville, California - Vacaville Facility -      Leased                         Undetermined                 N/A                         Undetermined
            Headquarters

  55.2
            Right of use - Vacaville                          Leased                                    $4,866,615.04     Net Book Value                      $4,866,615.04

  55.3
            Leasehold Improvements - Vacaville                Leased                                $21,762,967.33        Net Book Value                    $21,762,967.33

  55.4
            Tampa, Florida - Sales and Service Center         Leased                         Undetermined                 N/A                         Undetermined
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  55.5
             Leasehold Improvements-Owner Services-TPF          Leased                                   $44,745.85       Net Book Value                            $44,745.85
             Peter O Knight

  55.6
             Leaseholder Improvements Accumulated               Leased                              $-13,988,174.62       Net Book Value                       $-13,988,174.62
             Depreciation (Vacaville and Tampa)

  55.7
             Tijuana, Mexico - Production Facility              Leased                       Undetermined                 N/A                           Undetermined

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                               $12,686,153.60


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.

   General description                                                         Net book value of             Valuation method used         Current value of debtor’s interest
                                                                               debtor's interest             for current value
                                                                               (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
             Trademark - ICON - Argentina - 2,848699 - 11/3/2016              Undetermined                  N/A                         Undetermined

  60.2
             Trademark - ICON - Brazil - 910378401 - 7/31/2018                Undetermined                  N/A                         Undetermined

  60.3
             Trademark - ICON - Brazil - 840010842 - 4/7/2015                 Undetermined                  N/A                         Undetermined


  60.4
             Trademark - ICON - Brazil - 840010834 - 11/3/2015                Undetermined                  N/A                         Undetermined

  60.5
             Trademark - ICON - Canada - TMA1,035,930 - 7/4/2019              Undetermined                  N/A                         Undetermined

  60.6
             Trademark - ICON - Canada - TMA894,037 - 1/15/2015               Undetermined                  N/A                         Undetermined

  60.7
             Trademark - ICON - Chile - 1055543 - 11/14/2013                  Undetermined                  N/A                         Undetermined

  60.8
             Trademark - ICON - European Union - 10580918 - 6/20/2012         Undetermined                  N/A                         Undetermined
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  60.9
           Trademark - ICON - India - 2278072 - 7/4/2018                  Undetermined             N/A                          Undetermined


  60.10
           Trademark - ICON - India - 2283856 - 7/31/2018                 Undetermined             N/A                          Undetermined


  60.11
           Trademark - ICON - Mexico - 1365772 - 5/3/2013                 Undetermined             N/A                          Undetermined

  60.12
           Trademark - ICON - Thailand - TM384091 - 9/20/2014             Undetermined             N/A                          Undetermined

  60.13
           Trademark - ICON - Thailand - TM417936 - 5/25/2016             Undetermined             N/A                          Undetermined

  60.14
           Trademark - ICON - United Kingdom - UK00910580918 -            Undetermined             N/A                          Undetermined
           6/20/2012


  60.15
           Trademark - ICON - United Kingdom - UK0080128423 -             Undetermined             N/A                          Undetermined
           12/3/2015

  60.16
           Trademark - ICON - United States - 5680867 - 2/19/2019         Undetermined             N/A                          Undetermined

  60.17
           Trademark - ICON - United States - 4114911 - 3/20/2012         Undetermined             N/A                          Undetermined


  60.18
           Trademark - ICON - United States - 5151406 - 2/28/2017         Undetermined             N/A                          Undetermined


  60.19
           Trademark - ICON - United States - 4310133 - 3/26/2013         Undetermined             N/A                          Undetermined


  60.20
           Trademark - ICON - United States - 5147348 - 2/21/2017         Undetermined             N/A                          Undetermined


  60.21
           Trademark - ICON - WIPO - 1118075 - 1/22/2012                  Undetermined             N/A                          Undetermined

  60.22
           Trademark - ICON - WIPO - 1161034 - 4/9/2013                   Undetermined             N/A                          Undetermined

  60.23
           Trademark - ICON - WIPO - 1284238 - 12/3/2015                  Undetermined             N/A                          Undetermined

  60.24
           Trademark - ICON - United States - 3928897 - 3/8/2011          Undetermined             N/A                          Undetermined

  60.25
           Trademark - ICON - United States - 3951205 - 4/26/2011         Undetermined             N/A                          Undetermined

  60.26
           Trademark - ICON - WIPO - 1156533 - 3/8/2013                   Undetermined             N/A                          Undetermined

  60.27
           Trademark - ICON (in Chinese characters) - China - 19550014    Undetermined             N/A                          Undetermined
           - 5/28/2017

  60.28
           Trademark - ICON (in Chinese characters) - China - 14090155    Undetermined             N/A                          Undetermined
           - 6/14/2016
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  60.29
           Trademark - ICON A5 - European Union - 7498553 - 7/29/2009    Undetermined             N/A                          Undetermined

  60.30
           Trademark - ICON A5 - India - 2044448 - 8/30/2016             Undetermined             N/A                          Undetermined

  60.31
           Trademark - ICON A5 - United Kingdom - UK00907498553 -        Undetermined             N/A                          Undetermined
           7/29/2009

  60.32
           Trademark - ICON A5 - United Kingdom - UK00801069700 -        Undetermined             N/A                          Undetermined
           10/25/2010

  60.33
           Trademark - ICON A5 - United States - 3925938 - 3/1/2011      Undetermined             N/A                          Undetermined

  60.34
           Trademark - ICON A5 - United States - 4143245 - 5/15/2012     Undetermined             N/A                          Undetermined

  60.35
           Trademark - ICON A5 - WIPO - 1156533 - 3/8/2013               Undetermined             N/A                          Undetermined

  60.36
           Trademark - ICON A5 - WIPO - 1156395 - 10/25/2010             Undetermined             N/A                          Undetermined

  60.37
           Trademark - ICON A5 3-D Plane Design - European Union -       Undetermined             N/A                          Undetermined
           9676594 - 6/28/2011

  60.38
           Trademark - ICON A5 3-D Plane Design - India - 2044447 -      Undetermined             N/A                          Undetermined
           8/30/2016


  60.39
           Trademark - ICON A5 3-D Plane Design - South Korea - 40-      Undetermined             N/A                          Undetermined
           0926012 - 7/5/2012

  60.40
           Trademark - ICON A5 3- D Plane Design - United States -       Undetermined             N/A                          Undetermined
           4198959 - 8/28/2012


  60.41
           Trademark - ICON AIRCRAFT - Canada - TMA896,072 -             Undetermined             N/A                          Undetermined
           2/9/2015

  60.42
           Trademark - ICON AIRCRAFT - European Union - 6975064 -        Undetermined             N/A                          Undetermined
           2/25/2009

  60.43
           Trademark - ICON AIRCRAFT - India - 1697344 - 6/10/2008       Undetermined             N/A                          Undetermined

  60.44
           Trademark - ICON AIRCRAFT - United Kingdom -                  Undetermined             N/A                          Undetermined
           UK00906975064 - 2/25/2009

  60.45
           Trademark - ICON AIRCRAFT - United States - 4115145 -         Undetermined             N/A                          Undetermined
           3/20/2012
Debtor    ICON Aircraft, Inc.______________________________________________________         Case number (if known) 24-10703________________________________________
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  60.46
           Trademark - ICON AIRCRAFT - United States - 3158102 -         Undetermined             N/A                          Undetermined
           10/17/2006

  60.47
           Trademark - ICON AIRCRAFT - WIPO - 967164 - 6/9/2008          Undetermined             N/A                          Undetermined


  60.48
           Trademark - Logo - Argentina - 2861054 - 2/9/2015             Undetermined             N/A                          Undetermined


  60.49
           Trademark - Logo - Mexico - 1702706 - 2/25/2009               Undetermined             N/A                          Undetermined


  60.50
           Trademark - Logo - United States - 4550123 - 6/10/2008        Undetermined             N/A                          Undetermined


  60.51
           Trademark - Logo - WIPO - 1158318 - 2/25/2009                 Undetermined             N/A                          Undetermined


  60.52
           Trademark - Logo - Brazil - 910980527 - 5/15/2018             Undetermined             N/A                          Undetermined


  60.53
           Trademark - Logo - Brazil - 910981019 - 9/4/2018              Undetermined             N/A                          Undetermined

  60.54
           Trademark - Logo - Canada - TMA1,033,007 - 6/27/2019          Undetermined             N/A                          Undetermined

  60.55
           Trademark - Logo - Chile - 1221150 - 9/14/2016                Undetermined             N/A                          Undetermined

  60.56
           Trademark - Logo - United Kingdom - UK00801320526 -           Undetermined             N/A                          Undetermined
           4/18/2016

  60.57
           Trademark - Logo - United States - 5112173 - 1/3/2017         Undetermined             N/A                          Undetermined


  60.58
           Trademark - Logo - WIPO - 1320526 - 4/18/2016                 Undetermined             N/A                          Undetermined

  60.59
           Trademark - Seawings - United States - 3958168 - 5/10/2011    Undetermined             N/A                          Undetermined

  60.60
           Trademark - ICON - Thailand - 833881                          Undetermined             N/A                          Undetermined

  60.61
           Trademark - ICON - Thailand - 925633                          Undetermined             N/A                          Undetermined

  60.62
           Trademark - Logo - Canada - 1643053                           Undetermined             N/A                          Undetermined

  60.63
           Trademark - ICON AIRCRAFT - Canada - 1398618                  Undetermined             N/A                          Undetermined


  60.64
           Trademark - ICON - Brazil - 910378304                         Undetermined             N/A                          Undetermined


  60.65
           Patent - AMPHIBIOUS SPORT AIRCRAFT - US - D620838 -           Undetermined             N/A                          Undetermined
           8/3/2010
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  60.66
           Patent - AMPHIBIOUS SPORT AIRCRAFT - US - D613202 -          Undetermined             N/A                          Undetermined
           4/6/2010

  60.67
           Patent - AMPHIBIOUS SPORT AIRCRAFT - Canada - 128917 -       Undetermined             N/A                          Undetermined
           5/17/2010

  60.68
           Patent - AMPHIBIOUS SPORT AIRCRAFT - Australia - 324916 -    Undetermined             N/A                          Undetermined
           1/0/1900


  60.69
           Patent - AMPHIBIOUS SPORT AIRCRAFT WITH WING-FOLD -          Undetermined             N/A                          Undetermined
           European Union - 001053250-01 and 001053250-02 -
           12/10/2008

  60.70
           Patent - AMPHIBIOUS SPORT AIRCRAFT WITH WING-FOLD -          Undetermined             N/A                          Undetermined
           Brazil - D16805418-1 and D16805375-4 - 11/10/2009

  60.71
           Patent - AMPHIBIOUS SPORT AIRCRAFT WITH WING-FOLD -          Undetermined             N/A                          Undetermined
           US - D620,392 - 7/27/2010

  60.72
           Patent - AMPHIBIOUS SPORT AIRCRAFT WITH WING-FOLD -          Undetermined             N/A                          Undetermined
           India - 220137 - 10/1/2009


  60.73
           Patent - AIRCRAFT DELTA FIN - US - D620,876 - 8/3/2010       Undetermined             N/A                          Undetermined


  60.74
           Patent - SPORT AIRCRAFT COCKPIT AND INSTRUMENT               Undetermined             N/A                          Undetermined
           CLUSTER - US - D640,180 - 6/21/2011

  60.75
           Patent - SPORT AIRCRAFT COCKPIT AND INSTRUMENT               Undetermined             N/A                          Undetermined
           CLUSTER - Brazil - DI6805375-4 - 8/31/2010

  60.76
           Patent - SPORT AIRCRAFT COCKPIT AND INSTRUMENT               Undetermined             N/A                          Undetermined
           CLUSTER - European Union - 1053243-0001; 1053243-0002;
           and 1053243-0003 - 12/10/2008

  60.77
           Patent - SPORT AIRCRAFT INSTRUMENT CLUSTER - US -            Undetermined             N/A                          Undetermined
           D613,654 - 4/13/2010


  60.78
           Patent - AMPHIBIOUS AIRCRAFT HULL - US - D709,431S -         Undetermined             N/A                          Undetermined
           7/22/2014

  60.79
           Patent - AMPHIBIOUS AIRCRAFT HULL - Canada - 154686 -        Undetermined             N/A                          Undetermined
           1/0/1900

  60.80
           Patent - AMPHIBIOUS AIRCRAFT HULL - Australia - 353924 -     Undetermined             N/A                          Undetermined
           2/26/2014

  60.81
           Patent - AMPHIBIOUS AIRCRAFT HULL - China -                  Undetermined             N/A                          Undetermined
           ZL201330546604.2 - 5/7/2014
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  60.82
           Patent - AMPHIBIOUS AIRCRAFT HULL - European Union -        Undetermined             N/A                          Undetermined
           002385021-001 - 1/15/2014

  60.83
           Patent - AMPHIBIOUS AIRCRAFT HULL - Mexico - 44078 -        Undetermined             N/A                          Undetermined
           5/27/2015

  60.84
           Patent - AMPHIBIOUS AIRCRAFT HULL - Brazil -                Undetermined             N/A                          Undetermined
           BR302014000156-6 - 4/19/2016

  60.85
           Patent - AMPHIBIOUS AIRCRAFT HULL - Russia - 2014500110     Undetermined             N/A                          Undetermined
           - 12/22/2014

  60.86
           Patent - AMPHIBIOUS AIRCRAFT HULL - India - 259401 -        Undetermined             N/A                          Undetermined
           11/27/2014


  60.87
           Patent - AMPHIBIOUS SPORT AIRCRAFT - US - D739807 -         Undetermined             N/A                          Undetermined
           9/29/2015


  60.88
           Patent - AMPHIBIOUS SPORT AIRCRAFT - China -                Undetermined             N/A                          Undetermined
           ZL201330483562.2 - 05/07/2014

  60.89
           Patent - AMPHIBIOUS SPORT AIRCRAFT - Mexico - 45474 -       Undetermined             N/A                          Undetermined
           11/4/2015

  60.90
           Patent - AMPHIBIOUS SPORT AIRCRAFT WITH WINGS               Undetermined             N/A                          Undetermined
           STOWED - US - D713,774S - 09/23/2014

  60.91
           Patent - AMPHIBIOUS SPORT AIRCRAFT WITH WINGS               Undetermined             N/A                          Undetermined
           STOWED - China - ZL 201330483836.8 - 5/7/2014

  60.92
           Patent - AMPHIBIOUS SPORT AIRCRAFT COCKPIT AND              Undetermined             N/A                          Undetermined
           INSTRUMENT CLUSTER - US - D730805 - 6/2/2015


  60.93
           Patent - AMPHIBIOUS SPORT AIRCRAFT COCKPIT AND              Undetermined             N/A                          Undetermined
           INSTRUMENT CLUSTER - China - 201330483521.3 -
           4/16/2014


  60.94
           Patent - AIRCRAFT ANGLE OF ATTACK INDICATOR - US -          Undetermined             N/A                          Undetermined
           D731,333 - 6/9/2015

  60.95
           Patent - AIRCRAFT ANGLE OF ATTACK INDICATOR - China -       Undetermined             N/A                          Undetermined
           201330483528.5 - 7/14/2014

  60.96
           Patent - AMPHIBIOUS SPORT AIRCRAFT LANDING GEAR             Undetermined             N/A                          Undetermined
           VIEWING APPARATUS - US - D731,393 - 6/9/2015


  60.97
           Patent - AIRCRAFT DELTA FIN - US - D764384 - 8/23/2016      Undetermined             N/A                          Undetermined
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  60.98
           Patent - AIRCRAFT FUSELAGE CLOSEOUT - US - D769177 -          Undetermined             N/A                          Undetermined
           10/18/2016

  60.99
           Patent - AIRCRAFT WINGTIP POSITION LIGHT - US - D792617       Undetermined             N/A                          Undetermined
           - 7/18/2017

  60.100
           Patent - AIRCRAFT WINGTIP HANDLE - US - D772,777 -            Undetermined             N/A                          Undetermined
           11/29/2016


  60.101
           Patent - AIRCRAFT STICK GRIP - US - D758949 - 6/14/2016       Undetermined             N/A                          Undetermined


  60.102
           Patent - AIRCRAFT STICK GRIP - Canada - 160448 - 8/7/2015     Undetermined             N/A                          Undetermined


  60.103
           Patent - AIRCRAFT STICK GRIP - Australia - 360105 -           Undetermined             N/A                          Undetermined
           1/26/2015

  60.104
           Patent - AIRCRAFT STICK GRIP - China - ZL 201530013617.2 -    Undetermined             N/A                          Undetermined
           7/29/2015


  60.105
           Patent - AIRCRAFT STICK GRIP - European Union -               Undetermined             N/A                          Undetermined
           002611913-0001 - 1/12/2015

  60.106
           Patent - AIRCRAFT STICK GRIP - Mexico - 46090 - 1/18/2016     Undetermined             N/A                          Undetermined

  60.107
           Patent - AIRCRAFT STICK GRIP - India - 268852 - 1/14/2015     Undetermined             N/A                          Undetermined


  60.108
           Patent - AIRCRAFT HEADLIGHT LENS - US - D763168 -             Undetermined             N/A                          Undetermined
           8/9/2016

  60.109
           Patent - AIRCRAFT HEADLIGHT LENS - Canada - 160449 -          Undetermined             N/A                          Undetermined
           9/16/2016

  60.110
           Patent - AIRCRAFT HEADLIGHT LENS - Australia - 360669 -       Undetermined             N/A                          Undetermined
           1/8/2015

  60.111
           Patent - AIRCRAFT HEADLIGHT LENS - China - ZL                 Undetermined             N/A                          Undetermined
           201530015221.1 - 9/23/2015

  60.112
           Patent - AIRCRAFT HEADLIGHT LENS - Mexico - 45846 -           Undetermined             N/A                          Undetermined
           5/27/2015


  60.113
           Patent - AIRCRAFT HEADLIGHT LENS - Brazil -                   Undetermined             N/A                          Undetermined
           BR3020150000188-7 - 10/23/2018
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  60.114
           Patent - AIRCRAFT HEADLIGHT LENS - Russia - 96750 -        Undetermined             N/A                          Undetermined
           9/23/2015

  60.115
           Patent - AIRCRAFT HEADLIGHT LENS - India - 268851 -        Undetermined             N/A                          Undetermined
           9/23/2015


  60.116
           Patent - AIRCRAFT RUDDER PEDAL - US - D746,214 -           Undetermined             N/A                          Undetermined
           12/29/2015

  60.117
           Patent - AIRCRAFT NOSE LANDING GEAR FORK - US -            Undetermined             N/A                          Undetermined
           D750,008 - 2/23/2016

  60.118
           Patent - TWO-MOTION WING-FOLD MECHANISM WITH               Undetermined             N/A                          Undetermined
           INDEPENDENT LOAD PATH - US - 8157206 - 4/17/2012


  60.119
           Patent - AMPHIBIOUS SPORT AIRCRAFT TRAILER - US -          Undetermined             N/A                          Undetermined
           8152100 - 4/10/2012

  60.120
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - US - 8177162 - 5/15/2012

  60.121
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - Canada - 2763783 - 10/24/2017

  60.122
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - Australia - 2010259117 -
           10/20/2016

  60.123
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - China - ZL201080021930.5 -
           2/8/2017

  60.124
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - European Union - EP2440455 -
           8/31/2022

  60.125
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - Mexico - 320117 - 5/14/2014

  60.126
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - Brazil - PI1013137-0 - 4/28/2020

  60.127
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - Russia - 2537218 - 10/31/2014

  60.128
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - India - 391145 - 4/3/2022
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  60.129
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - US - 8286912 - 10/16/2012

  60.130
           Patent - WINGTIP AND SPONSON INTERACTION ON AN             Undetermined             N/A                          Undetermined
           AMPHIBIOUS AIRCRAFT - Canada - 2978621 - 12/15/2020

  60.131
           Patent - ANTI-FLIP LANDING GEAR FOR AIRCRAFT - US -        Undetermined             N/A                          Undetermined
           7350751 - 4/1/2008


  60.132
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION - US -      Undetermined             N/A                          Undetermined
           9327828 - 5/3/2016

  60.133
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION -           Undetermined             N/A                          Undetermined
           Canada - 2878905 - 7/7/2020


  60.134
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION -           Undetermined             N/A                          Undetermined
           Australia - 2013341766 - 9/22/2016

  60.135
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION - China     Undetermined             N/A                          Undetermined
           - ZL201380003800.2 - 8/24/2016

  60.136
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION -           Undetermined             N/A                          Undetermined
           European Union - 2874873 - 12/14/2016

  60.137
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION -           Undetermined             N/A                          Undetermined
           Mexico - 363459 - 3/25/2019

  60.138
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION - Brazil    Undetermined             N/A                          Undetermined
           - BR112015000821-6 - 1/25/2022

  60.139
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION -           Undetermined             N/A                          Undetermined
           Russia - 2640669 - 1/11/2018

  60.140
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION - India     Undetermined             N/A                          Undetermined
           - 355329 - 1/5/2021

  60.141
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION - US -      Undetermined             N/A                          Undetermined
           9926071 - 3/27/2018


  60.142
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION -           Undetermined             N/A                          Undetermined
           Australia - 2016225939 - 7/19/2018

  60.143
           Patent - SPIN RESISTANT AIRCRAFT CONFIGURATION - US -      Undetermined             N/A                          Undetermined
           10723444 - 7/28/2020

  60.144
           Patent - SELF-ORIENTING AIRCRAFT LANDING GEAR - US -       Undetermined             N/A                          Undetermined
           9169003 - 10/27/2015
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  60.145
           Patent - SELF-ORIENTING AIRCRAFT LANDING GEAR - US -       Undetermined             N/A                          Undetermined
           9346539 - 5/24/2016

  60.146
           Patent - MANUAL WING FOLD MECHANISM - US - 10099770 -      Undetermined             N/A                          Undetermined
           10/16/2018

  60.147
           Patent - MANUAL WING FOLD MECHANISM - Canada -             Undetermined             N/A                          Undetermined
           2918749 - 8/31/2021

  60.148
           Patent - MANUAL WING FOLD MECHANISM - Australia -          Undetermined             N/A                          Undetermined
           2014334927 - 8/2/2018

  60.149
           Patent - MANUAL WING FOLD MECHANISM - China -              Undetermined             N/A                          Undetermined
           ZL201480042320.1 - 2/1/2019


  60.150
           Patent - MANUAL WING FOLD MECHANISM - European Union       Undetermined             N/A                          Undetermined
           - 3013684 - 10/31/2018

  60.151
           Patent - MANUAL WING FOLD MECHANISM - Mexico -             Undetermined             N/A                          Undetermined
           368612 - 10/9/2019

  60.152
           Patent - MANUAL WING FOLD MECHANISM - Brazil -             Undetermined             N/A                          Undetermined
           BR302015000188-7 - 10/23/2018


  60.153
           Patent - MANUAL WING FOLD MECHANISM - Russia -             Undetermined             N/A                          Undetermined
           2674387 - 12/18/2019

  60.154
           Patent - MANUAL WING FOLD MECHANISM - US - 10435138 -      Undetermined             N/A                          Undetermined
           10/8/2019


  60.155
           Patent - MANUAL WING FOLD MECHANISM - Australia -          Undetermined             N/A                          Undetermined
           2018203074 - 7/23/2020

  60.156
           Patent - MANUAL WING FOLD MECHANISM - China -              Undetermined             N/A                          Undetermined
           ZL201910040710X - 5/7/2022

  60.157
           Patent - MANUAL WING FOLD MECHANISM - European Union       Undetermined             N/A                          Undetermined
           - 3466809 - 12/22/2021

  60.158
           Patent - MANUAL WING FOLD - Brazil - BR112016001299-2 -    Undetermined             N/A                          Undetermined
           2/22/2022

  61. Internet domain names and websites
  61.1
           a5auction.com                                              Undetermined             None                         Undetermined

  61.2
           a5owner.com                                                Undetermined             None                         Undetermined
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  61.3
           a5owners.org                                                Undetermined             None                         Undetermined

  61.4
           a5pilot.com                                                 Undetermined             None                         Undetermined

  61.5
           a5pilot.org                                                 Undetermined             None                         Undetermined

  61.6
           a5pilots.com                                                Undetermined             None                         Undetermined

  61.7
           a5pilots.org                                                Undetermined             None                         Undetermined

  61.8
           flywithicon.com                                             Undetermined             None                         Undetermined

  61.9
           iacareers.com                                               Undetermined             None                         Undetermined

  61.10
           icona5.com                                                  Undetermined             None                         Undetermined

  61.11
           iconaero.com                                                Undetermined             None                         Undetermined

  61.12
           iconaircraft.co                                             Undetermined             None                         Undetermined

  61.13
           iconaircraft.com                                            Undetermined             None                         Undetermined

  61.14
           iconaircraft.mx                                             Undetermined             None                         Undetermined

  61.15
           iconaircraft.net                                            Undetermined             None                         Undetermined


  61.16
           iconaircraft.org                                            Undetermined             None                         Undetermined

  61.17
           iconaircraft.us                                             Undetermined             None                         Undetermined

  61.18
           iconaircrafts.com                                           Undetermined             None                         Undetermined

  61.19
           iconairplane.com                                            Undetermined             None                         Undetermined

  61.20
           iconairplanes.com                                           Undetermined             None                         Undetermined

  61.21
           iconaviation.com                                            Undetermined             None                         Undetermined

  61.22
           iconaviation.net                                            Undetermined             None                         Undetermined
Debtor    ICON Aircraft, Inc.______________________________________________________       Case number (if known) 24-10703________________________________________
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  61.23
           iconaviation.org                                            Undetermined             None                         Undetermined

  61.24
           iconcomposites.com                                          Undetermined             None                         Undetermined

  61.25
           iconcompositetechnologies.com                               Undetermined             None                         Undetermined

  61.26
           icone5.com                                                  Undetermined             None                         Undetermined

  61.27
           iconflight.com                                              Undetermined             None                         Undetermined

  61.28
           iconflightcenter.com                                        Undetermined             None                         Undetermined

  61.29
           iconforums.com                                              Undetermined             None                         Undetermined

  61.30
           iconl5.com                                                  Undetermined             None                         Undetermined

  61.31
           iconowners.com                                              Undetermined             None                         Undetermined

  61.32
           iconowners.org                                              Undetermined             None                         Undetermined

  61.33
           iconpilot.org                                               Undetermined             None                         Undetermined

  61.34
           iconpilots.com                                              Undetermined             None                         Undetermined

  61.35
           iconpilots.org                                              Undetermined             None                         Undetermined


  61.36
           iconplane.com                                               Undetermined             None                         Undetermined

  61.37
           iconplanes.com                                              Undetermined             None                         Undetermined

  61.38
           icons5.com                                                  Undetermined             None                         Undetermined

  61.39
           myredprop.com                                               Undetermined             None                         Undetermined

  61.40
           redprop.org                                                 Undetermined             None                         Undetermined

  61.41
           theredprop.com                                              Undetermined             None                         Undetermined


  61.42
           iconaircraftservice.com                                     Undetermined             None                         Undetermined
Debtor    ICON Aircraft, Inc.______________________________________________________                  Case number (if known) 24-10703________________________________________
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  62. Licenses, franchises, and royalties
  62.1
             Non-Exclusive License with FEIREN International Co., Limited    Undetermined                   None                         Undetermined

  63. Customer lists, mailing lists, or other compilations
  63.1
             Customer List                                                   Undetermined                   None                         Undetermined

  64. Other intangibles, or intellectual property
  64.1
             Instagram - @iconaircraft                                       Undetermined                   None                         Undetermined

  64.2
             LinkedIn - @ICON Aircraft                                       Undetermined                   None                         Undetermined

  64.3
             Twitter/X - @ICONAircraft                                       Undetermined                   None                         Undetermined

  64.4
             YouTube - @Icon Aircraft                                        Undetermined                   None                         Undetermined

  65. Goodwill
  65.1
             None                                                                                                                                                       $0.00

  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                       $0.00


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.

                                                                                                                                         Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
             None                                                                                                         =                                            $0.00
                                                                                        -
                                                total face amount                           doubtful or uncollectible
                                                                                            amount
Debtor    ICON Aircraft, Inc.______________________________________________________       Case number (if known) 24-10703________________________________________
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  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
           Federal NOL*                                                                   Tax year   2006                                            $300,877.00

  72.2
           Federal NOL*                                                                   Tax year   2007                                            $749,234.00

  72.3
           Federal NOL*                                                                   Tax year   2008                                          $1,121,831.00

  72.4
           Federal NOL*                                                                   Tax year   2009                                          $1,654,609.00

  72.5
           Federal NOL*                                                                   Tax year   2010                                          $2,778,607.00

  72.6
           Federal NOL*                                                                   Tax year   2011                                          $3,041,692.00

  72.7
           Federal NOL*                                                                   Tax year   2012                                          $4,633,490.00

  72.8
           Federal NOL*                                                                   Tax year   2013                                          $7,581,755.00

  72.9
           Federal NOL*                                                                   Tax year   2014                                         $19,283,651.00

  72.10
           Federal NOL*                                                                   Tax year   2015                                         $32,538,792.00

  72.11
           Federal NOL*                                                                   Tax year   2016                                         $39,977,532.00

  72.12
           Federal NOL*                                                                   Tax year   2017                                         $46,761,751.00


  72.13
           Federal NOL                                                                    Tax year   2018                                         $59,921,583.00

  72.14
           Federal NOL                                                                    Tax year   2019                                         $71,965,462.00

  72.15
           Federal NOL                                                                    Tax year   2020                                         $60,290,117.00

  72.16
           Federal NOL                                                                    Tax year   2021                                         $30,072,951.00

  72.17
           Federal NOL                                                                    Tax year   2022                                         $48,369,643.00

  72.18
           R&D Credits                                                                    Tax year   2006-2016                                     $3,026,060.00

  Footnote: * Will begin expiry in 2026.
Debtor    ICON Aircraft, Inc.______________________________________________________                Case number (if known) 24-10703________________________________________
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  73. Interests in insurance policies or annuities
  73.1
             Expected recovery on destroyed trailer vehicle                                                                                                     $24,377.6

  74. Causes of action against third parties (whether or not a lawsuit has been filed)
  74.1
             None                                                                                                                                                   $0.00
  Nature of Claim

  Amount requested

  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
             Asset Management Company, et al v. Shangai Pudong Science and Technology                                                 Undetermined
             Investment Co. Ltd., et al
  Nature of Claim                      Derivative Claim
  Amount requested                      Undetermined

  76. Trusts, equitable or future interests in property
  76.1
             None                                                                                                                                                   $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
             Intercompany Receivable Due From IC Technologies, Inc.                                                                                        $95,580,450.38


  77.2
             Tradeshow Exhibits - Marketing Materials                                                                                                         $105,834.82

  77.3
             Tradeshows Exhibit (Accumulated Depreciation)                                                                                                   $-105,834.82


  77.4
             Inflatable Dock                                                                                                                                   $11,916.45

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                         $529,686,381.43


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

     No

     Yes

  Part 12:       Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                          Current value of              Current value of real
                                                                             personal property             property

  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.             $1,742,566.92


  81. Deposits and prepayments. Copy line 9, Part 2.                                 $2,813,407.40


  82. Accounts receivable. Copy line 12, Part 3.                                         $360,449.19
Debtor    ICON Aircraft, Inc.______________________________________________________                Case number (if known) 24-10703________________________________________
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  83. Investments. Copy line 17, Part 4.                                                    $0.00

  84. Inventory. Copy line 23, Part 5.                                              $4,912,251.87

  85. Farming and fishing-related assets. Copy line 33, Part 6.                             $0.00

  86. Office furniture, fixtures, and equipment; and collectibles. Copy                 $36,591.88
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                     $3,269,891.11

  88. Real property. Copy line 56, Part 9.                                                                      $12,686,153.60


  89. Intangibles and intellectual property.. Copy line 66, Part 10.                        $0.00

  90. All other assets. Copy line 78, Part 11.                                    $529,686,381.43

  91. Total. Add lines 80 through 90 for each column                   91a.                                           91b.
                                                                                 $542,821,539.80                                                $12,686,153.60


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                        $555,507,693.40
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  Fill in this information to identify the case:

  Debtor name: ICON Aircraft, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                           Check if this is an
  Case number: 24-10703
                                                                                                                                                           amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor   Column A                             Column B
separately for each claim.
                                                                                                             Amount of Claim                      Value of collateral that
                                                                                                             Do not deduct the value of           supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to        Undetermined                     Undetermined
            CIT BANK, N.A.                              the lien:
            10201 Centurion Parkway North,              Printer, Any existing and future
            Suite 100                                   parts/attachments.
            Jacksonville, FL 32256
                                                        Describe the lien
           Date debt was incurred?                      UCC Lien
           2/13/2018                                    Is the creditor an insider or related party?
           Last 4 digits of account number                 No

                                                           Yes
           Do multiple creditors have an interest
                                                        Is anyone else liable on this claim?
           in the same property?
                                                           No
               No
                                                           Yes. Fill out Schedule H: Codebtors(Official
               Yes. Specify each creditor, including
                                                       Form 206H)
          this creditor, and its relative priority.
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                           $0.00
Page, if any.
Debtor   ICON Aircraft, Inc.______________________________________________________                Case number (if known) 24-10703________________________________________
         Name
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  Part 2:   List Others to Be Notified for a Debt That You Already Listed

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                         On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                            the related creditor?                       this entity

  3.1
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  Fill in this information to identify the case:

  Debtor name: ICON Aircraft, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
  Case number: 24-10703
                                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, fill out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition filing date, the claim is:                   $36,400.00                       $3,350.00
           Aaron Petry - Address Redacted                                Check all that apply.
                                                                              Contingent
           Date or dates debt was incurred
           1/14/2022                                                          Unliquidated

           Last 4 digits of account number                                    Disputed

                                                                         Basis for the claim:
           Specify Code subsection of PRIORITY unsecured                 Customer Deposit
           claim:
                                                                         Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                             No

                                                                             Yes


2.2
                                                                         As of the petition filing date, the claim is:                   $20,000.00                       $3,350.00
           Aaron Petry - Address Redacted                                Check all that apply.
                                                                              Contingent
           Date or dates debt was incurred
           2/6/2024                                                           Unliquidated

           Last 4 digits of account number                                    Disputed

                                                                         Basis for the claim:
           Specify Code subsection of PRIORITY unsecured                 Customer Deposit
           claim:                                                        Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                             No

                                                                             Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.3
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Abiola M Familusi - Address Redacted                   Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           3/30/2014                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.4
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Aderbal Lima - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/25/2011                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.5
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Adrian Critchlow - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/23/2012                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.6
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Ahmad Almahroqi - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           1/6/2017                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.7
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Ajay Pillai - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           3/27/2017                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.8
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Alain Zenatti - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/30/2014                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
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  2.9
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Alan George - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           2/16/2016                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.10
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Alan Timmerman - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/1/2013                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.11
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Alex Sobko - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/10/2012                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
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  2.12
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Alexandre Couvelaire - Address Redacted                Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/31/2011                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.13
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Alexandre Gallina - Address Redacted                   Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           12/17/2012                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.14
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Alexandre Manz - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           6/10/2017                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.15
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Alexandre Romero - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/30/2011                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.16
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Alexey Nikitin - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/27/2017                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.17
                                                                  As of the petition filing date, the claim is:               $20,000.00                   $3,350.00
           Allen Miner - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           2/28/2023                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.18
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Andre Simard - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           4/7/2012                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.19
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Andreas Heeschen - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/30/2014                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.20
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Andrei Palchevski - Address Redacted                   Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           12/16/2009                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
         Name
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  2.21
                                                                  As of the petition filing date, the claim is:               $38,400.33                   $3,350.00
           Andres Carrizosa - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           9/16/2021                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.22
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Andrew Boszhardt - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           2/10/2016                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.23
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Andrew Chua - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/19/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.24
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Andrew Keefer - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/20/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.25
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Andrew Wurst - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           5/9/2016                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.26
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Andrey Dubovskov - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           5/18/2016                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
         Name
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  2.27
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Andy Boszhardt - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           5/29/2008                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.28
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Andy Davis - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/31/2014                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.29
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Angel Romanos - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/23/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.30
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Anna Kartashova - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/3/2015                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.31
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Anthony Porrazza - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/1/2014                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.32
                                                                  As of the petition filing date, the claim is:               $20,000.00                   $3,350.00
           Anton Willerscheidt - Address Redacted                 Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/15/2022                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.33
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Archana Muthappa - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/3/2013                                                   Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.34
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Archie Bell - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/4/2014                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.35
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Arnold Vogelsang - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           1/28/2010                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.36
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Art Dale - Address Redacted                            Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/17/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.37
                                                                  As of the petition filing date, the claim is:               $10,000.00                   $3,350.00
           Bai Ming Chen - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/2/2014                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.38
                                                                  As of the petition filing date, the claim is:               $15,800.00                   $3,350.00
           Barry Skolnick - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/29/2023                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
         Name
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  2.39
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Basil Loranger - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/26/2012                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.40
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Ben Gordon - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/18/2016                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.41
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Bernard Wiertz - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/22/2015                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.42
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Bob Borowicz - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           3/6/2013                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.43
                                                                  As of the petition filing date, the claim is:                $4,000.00                   $3,350.00
           Boonchoo Cheingthong - Address Redacted                Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/29/2011                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.44
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Borith Yan - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           5/30/2013                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
         Name
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  2.45
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Brett David - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/21/2018                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.46
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Breyle Girard - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/18/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.47
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Brian Cartmell - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           1/7/2009                                                   Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.48
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Brook Adcock - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/20/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.49
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Cairo Simao - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/23/2012                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.50
                                                                  As of the petition filing date, the claim is:    Undetermined                Undetermined
           California Department of Revenue                       Check all that apply.
           3321 Power Inn Road, Suite 210
                                                                      Contingent
           Sacramento, CA 95826-3889
                                                                      Unliquidated
           Date or dates debt was incurred
           Undetermined                                               Disputed

           Last 4 digits of account number                        Basis for the claim:
                                                                  Tax Claim

           Specify Code subsection of PRIORITY unsecured          Is the claim subject to offset?
           claim:                                                    No
           11 U.S.C. § 507(a) ( 8 )
                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
         Name
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  2.51
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Calvin Ku - Address Redacted                           Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/24/2016                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.52
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Caner Dogan - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           1/8/2016                                                   Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.53
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Carlos Alberto Filgueiras - Address Redacted           Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/20/2015                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.54
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Carlos Ausset - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           4/2/2017                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.55
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Carlos Kauffmann - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           1/5/2018                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.56
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Caryl Salvador - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           10/3/2016                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.57
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Cesar Carloni - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/1/2014                                                   Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.58
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Chad Sakac - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/29/2016                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.59
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Charles Hiten - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           10/27/2011                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.60
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Charles Jason Ritzen - Address Redacted                Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/12/2018                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.61
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Charles Sterner - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           2/11/2017                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.62
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Chris Buss - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/25/2012                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
         Name
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  2.63
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Chris Reilly - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/20/2008                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.64
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Christopher Blum - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/20/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.65
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Christopher Rasmus - Address Redacted                  Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/23/2015                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
         Name
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  2.66
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Christopher Serflek - Address Redacted                 Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           12/25/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.67
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Christos Livadas - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           1/9/2009                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.68
                                                                  As of the petition filing date, the claim is:              $100,000.00                   $3,350.00
           Chuck Phillips - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/18/2010                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.69
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Colin Evan Quek - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/25/2015                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.70
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Constantin Tzembelicos - Address Redacted              Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/31/2014                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.71
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Craig Hawley - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/26/2017                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.72
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Cui Han Sheng - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/22/2015                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.73
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Dale Coram - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/22/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.74
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Dale Zoerb - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/28/2012                                                  Unliquidated

           Last 4 digits of account number                            Disputed

                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.75
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Dan Balda - Address Redacted                           Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/23/2008                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.76
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Daniel Delaunay - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/1/2017                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.77
                                                                  As of the petition filing date, the claim is:               $38,400.00                   $3,350.00
           Daniel Milstein - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           4/11/2022                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.78
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Danny Lemus - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/29/2017                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.79
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Dario Etemadi - Address Redacted                       Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           9/30/2016                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.80
                                                                  As of the petition filing date, the claim is:                $4,000.00                   $3,350.00
           Darvin Legaspi - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/29/2012                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.81
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           Davi Starepravo - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           5/17/2011                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.82
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           David Billon - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/14/2011                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.83
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           David Boone - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/4/2015                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.84
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           David Chan - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/30/2017                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.85
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           David Cooper - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           9/17/2015                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.86
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           David Hurlburt - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/1/2013                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
         Name
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  2.87
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           David Kartzinel - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/24/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.88
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           David Marcinak - Address Redacted                      Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/25/2009                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.89
                                                                  As of the petition filing date, the claim is:               $18,000.00                   $3,350.00
           David Mccrystal - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           Various                                                    Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.90
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           David Ramsay - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/23/2015                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes


  2.91
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           David Steer - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/18/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.92
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           David Sutton - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           11/20/2015                                                 Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.93
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           David Sze - Address Redacted                           Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/25/2011                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.94
                                                                  As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
           David Wanek - Address Redacted                         Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           9/3/2014                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.95
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           David Werner - Address Redacted                        Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/22/2015                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor   ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.96
                                                                  As of the petition filing date, the claim is:               $38,400.00                   $3,350.00
           David Zook - Address Redacted                          Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/19/2022                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.97
                                                                  As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
           Debra Schoenberg - Address Redacted                    Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           7/31/2017                                                  Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:                                                 Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes

  2.98
                                                                  As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
           Dejan Dejanovik - Address Redacted                     Check all that apply.
                                                                      Contingent
           Date or dates debt was incurred
           8/1/2014                                                   Unliquidated

           Last 4 digits of account number                            Disputed
                                                                  Basis for the claim:
           Specify Code subsection of PRIORITY unsecured          Customer Deposit
           claim:
                                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 7 )
                                                                     No

                                                                     Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.99
                                                                   As of the petition filing date, the claim is:    Undetermined                Undetermined
            Delaware Division of Revenue                           Check all that apply.
            Attn: MS #25; Kevin T. Murphy
                                                                       Contingent
            PO Box 8763
            Wilmington, DE 19899-8763                                  Unliquidated

            Date or dates debt was incurred                            Disputed
            Undetermined                                           Basis for the claim:
            Last 4 digits of account number                        Tax Claim

                                                                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured             No
            claim:
            11 U.S.C. § 507(a) ( 8 )                                  Yes

  2.100
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Dennis Brothers - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            9/23/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.101
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Dennis Duarte - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/24/2014                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.102
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Diogo Rau - Address Redacted                           Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/26/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.103
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Dmitry Mukhin - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/18/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.104
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Doug Booth - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/16/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
          Name
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  2.105
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Douglas Keller - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/1/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.106
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Dr Peter Wilton - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/5/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.107
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Duncan Keirnes - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.108
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Earl Wayne Peterson - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/23/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.109
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Edson Ribeiro De Mendonca Neto - Address Redacted      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/20/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.110
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Eduardo J Alarcon - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.111
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Eduardo Jose Soriano Jr - Address Redacted             Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/30/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.112
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Elias Zurita - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/7/2013                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.113
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Elie Alain Levi - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2018                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.114
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Faisal Alangari - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/26/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.115
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Faizan Buzdar - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.116
                                                                   As of the petition filing date, the claim is:            $5,500,000.00                   $3,350.00
            FEIREN International Co., Limited                      Check all that apply.
            12/F, Henley Building, 5 Queen's Road Central
                                                                       Contingent
            Hong Kong
            China                                                      Unliquidated

            Date or dates debt was incurred                            Disputed
            Various                                                Basis for the claim:
            Last 4 digits of account number                        Customer Deposit
                                                                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured             No
            claim:
                                                                      Yes
            11 U.S.C. § 507(a) ( 7 )
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.117
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Fernando Brescacin - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.118
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Flemming Stelling - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.119
                                                                   As of the petition filing date, the claim is:    Undetermined                Undetermined
            Florida Department of Revenue                          Check all that apply.
            5050 W Tennessee St
                                                                       Contingent
            Tallahassee, FL 32399-0100
                                                                       Unliquidated
            Date or dates debt was incurred
            Undetermined                                               Disputed

            Last 4 digits of account number                        Basis for the claim:
                                                                   Tax Claim

            Specify Code subsection of PRIORITY unsecured          Is the claim subject to offset?
            claim:                                                    No
            11 U.S.C. § 507(a) ( 8 )
                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.120
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Francesco Casoli - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/30/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.121
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Francisco Duque - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/27/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.122
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Frank Molsberry - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.123
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            George Brimhall - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/27/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.124
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            George Papamarkakis - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/11/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.125
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Gerardo Aboumrad - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.126
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Giancarlo Piccoli - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/26/2024                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.127
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Giles North - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.128
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Gilles Loiseau - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
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  2.129
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Giuliano Borlenghi - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.130
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Glen Nelson - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/1/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.131
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Grant Richter - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/19/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
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  2.132
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Gregg Thompson - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/22/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.133
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Gregory Reynolds - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.134
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Guan Hong Wei - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/22/2008                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
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  2.135
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Guan Xiao Chun - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/22/2008                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.136
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Guillermo Herrera - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.137
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Guillermo Woodward - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            9/9/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.138
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Gustavo Correa - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.139
                                                                   As of the petition filing date, the claim is:               $10,000.00                   $3,350.00
            Hafiz Al Asad Talha - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/10/2011                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.140
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Hakim Sitorus - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
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  2.141
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Hamid Zahraii - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/13/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.142
                                                                   As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            Han Scheij - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/6/2012                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.143
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Hans Christian Digermul - Address Redacted             Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/3/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.144
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Harald Katzenschlaeger - Address Redacted              Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/4/2013                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.145
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Harvey Bellchamber - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/30/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.146
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Harvey Berk - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/26/2024                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.147
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Haryan Liang - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/2/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.148
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Henry Hillman - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/11/2018                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.149
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Henry Lees-Buckley - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/19/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.150
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Hermann Gams - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.151
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Hidekazu Motegi - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.152
                                                                   As of the petition filing date, the claim is:    Undetermined                Undetermined
            Hillsborough County Tax Collector                      Check all that apply.
            Attn: Nancy C. Millan
                                                                       Contingent
            601 East Kennedy Boulevard
            County Center, 14th Floor                                  Unliquidated
            Tampa, FL 33602
                                                                       Disputed
            Date or dates debt was incurred                        Basis for the claim:
            Undetermined                                           Tax Claim
            Last 4 digits of account number                        Is the claim subject to offset?
                                                                      No
            Specify Code subsection of PRIORITY unsecured
                                                                      Yes
            claim:
            11 U.S.C. § 507(a) ( 8 )
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.153
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Hristo Belitchovsky - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/3/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.154
                                                                   As of the petition filing date, the claim is:                $8,000.00                   $3,350.00
            Hsueh-Hsien Liang - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            Various                                                    Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.155
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Hugh Mulgrew - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.156
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Ian Weir - Address Redacted                            Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.157
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Ibrahim Iskandar - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/30/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.158
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Idalecio Maiochi - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/17/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.159
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Ihsan Sapan - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/18/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.160
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Jacky Bibliowicz - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/20/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.161
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Jacques Gast - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/23/2009                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.162
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            James Charles - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/24/2010                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.163
                                                                   As of the petition filing date, the claim is:               $15,000.00                   $3,350.00
            James Evans - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.164
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            James Gutierrez - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            9/20/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.165
                                                                   As of the petition filing date, the claim is:                $4,000.00                   $3,350.00
            James Jernigan - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.166
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            James P. De Persia - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.167
                                                                   As of the petition filing date, the claim is:                $4,000.00                   $3,350.00
            Jan Borowski - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.168
                                                                   As of the petition filing date, the claim is:               $38,400.00                   $3,350.00
            Jared Irby - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/16/2022                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.169
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jason Hall - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.170
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jason Merkle - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/28/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.171
                                                                   As of the petition filing date, the claim is:                $4,000.00                   $3,350.00
            Jason Talley - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            Various                                                    Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.172
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Jeff Barber - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/21/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.173
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jeffery Becton - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            2/24/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.174
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Jeremy Hugus - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.175
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jesper Fellenius - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/28/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.176
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jim Covington - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/30/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.177
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Joe Miller - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/23/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.178
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Joel Hall - Address Redacted                           Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/12/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.179
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Johan Jansen - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/1/2015                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.180
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            John Akridge - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.181
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            John Clarke - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/20/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.182
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            John Cyrier - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.183
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            John Elliott - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.184
                                                                   As of the petition filing date, the claim is:                $8,000.00                   $3,350.00
            John Mccann - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/23/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.185
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            John Redig - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/20/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.186
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            John Ridley - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/21/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.187
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            John Viskup - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.188
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jonathan Rooks - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/10/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.189
                                                                   As of the petition filing date, the claim is:               $35,000.00                   $3,350.00
            Jonathan Spano - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/16/2022                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.190
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Jorge Burillo - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/15/2009                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.191
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Jorge Hurtado - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            9/23/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.192
                                                                   As of the petition filing date, the claim is:                $4,000.00                   $3,350.00
            Jorge Rios - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.193
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jose C R V Oliveira - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/31/2016                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.194
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jose Zapata - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.195
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Joseph De Bellis - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/27/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.196
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Joseph Nganga - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.197
                                                                   As of the petition filing date, the claim is:               $36,300.00                   $3,350.00
            Joseph Rubino - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/28/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.198
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Jouril Ray Howell - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.199
                                                                   As of the petition filing date, the claim is:               $59,000.00                   $3,350.00
            Juan Dominguez - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/10/2020                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.200
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Juergen Nick - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.201
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Kai Tian - Address Redacted                            Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/1/2013                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.202
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Kami Newby - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/30/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.203
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Karl Hutter - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.204
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Kasper Wabinski - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.205
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Kazuhiro Shirai - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.206
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Keith Neilson - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/31/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.207
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Keith Swyer - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/27/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.208
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Ken Kearney - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/30/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.209
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Kerginaldo Martins - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.210
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            Kern County Treasurer and Tax Collector                Check all that apply.
            1115 Truxtun Ave
                                                                       Contingent
            Bakersfield, CA 93301
                                                                       Unliquidated
            Date or dates debt was incurred
            Undetermined                                               Disputed

            Last 4 digits of account number                        Basis for the claim:
                                                                   Tax Claim

            Specify Code subsection of PRIORITY unsecured          Is the claim subject to offset?
            claim:                                                    No
            11 U.S.C. § 507(a) ( 8 )
                                                                      Yes

  2.211
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Kevin Gersh - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/13/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.212
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Khalid Alnasouri - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.213
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Khalid Alzubair - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            9/10/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.214
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Kirk Hawkins - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/14/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.215
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Kirk Mahon - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/22/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.216
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Krassimir Piperkov - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/8/2008                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.217
                                                                   As of the petition filing date, the claim is:               $36,100.00                   $3,350.00
            Kyle Gardner - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            9/17/2021                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.218
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Lane Merrifield - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.219
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Leland Christenson II - Address Redacted               Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/2/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.220
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Leon Hui - Address Redacted                            Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.221
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Liang Ming - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.222
                                                                   As of the petition filing date, the claim is:                $8,000.00                   $3,350.00
            Liuzhou Riviera Yacht Club - Address Redacted          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/27/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.223
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Lori Moseley - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.224
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            Los Angeles Tax Collector                              Check all that apply.
            Kenneth Hahn Hall of Administration
                                                                       Contingent
            500 W Temple Street
            Los Angeles, CA 90012                                      Unliquidated

            Date or dates debt was incurred                            Disputed
            Undetermined                                           Basis for the claim:
            Last 4 digits of account number                        Tax Claim
                                                                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured             No
            claim:
                                                                      Yes
            11 U.S.C. § 507(a) ( 8 )
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.225
                                                                   As of the petition filing date, the claim is:               $39,650.00                   $3,350.00
            Luis Maldonado - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/26/2022                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.226
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Luiz E C Nascimento - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/1/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.227
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Luo Shaoning - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.228
                                                                   As of the petition filing date, the claim is:                $6,000.00                   $3,350.00
            Magued Eldaief - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            Various                                                    Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.229
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Malik Alnoumani - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/1/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.230
                                                                   As of the petition filing date, the claim is:               $15,000.00                   $3,350.00
            Manny Pacquiao - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/27/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.231
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Marc Bachli - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/30/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.232
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Marc Demontigny - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/28/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.233
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Marcelo Aspis - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/27/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.234
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Marco A Altamirano - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/1/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.235
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Marcos Comnene - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/22/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.236
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Mark De Mattei - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/2/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.237
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Mark Emmerson - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/10/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.238
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Mark Horton - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.239
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Mark Humphreys - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/15/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
          Name
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  2.240
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Mark Read - Address Redacted                           Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/3/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.241
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Martin Hermann - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            2/22/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.242
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Matt Hayden - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.243
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Matteo Todesco - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/3/2015                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.244
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Matthew Harte - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/15/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.245
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Matthew Woodworth - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.246
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            Mexico Federal Tax                                     Check all that apply.
            Servicio de Administración Tributaria
                                                                       Contingent
            Av. Hidalgo 77, Col.
            Guerrero, CP 06300                                         Unliquidated
            Mexico City
                                                                       Disputed
            Date or dates debt was incurred                        Basis for the claim:
            Undetermined                                           Tax Claim
            Last 4 digits of account number                        Is the claim subject to offset?
                                                                      No
            Specify Code subsection of PRIORITY unsecured
                                                                      Yes
            claim:
            11 U.S.C. § 507(a) ( 8 )

  2.247
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Michael Ball - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.248
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Michael Di Lillo - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/4/2013                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.249
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Michael Henry - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/20/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.250
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Michael Hurd - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/27/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.251
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Michael Reamer - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/22/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.252
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Michael Rolbin - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.253
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Michael Silva - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.254
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Michael Speer - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.255
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Michael Stimac - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.256
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Michael Tanne - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/30/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.257
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Mike & Chandra Patey - Address Redacted                Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/27/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.258
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Mike Greenwood - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/16/2009                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.259
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Mike Tubbs - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.260
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Mitsuru Yazawa - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.261
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Mohamed Almazrouei - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/29/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.262
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Murat Kazanci - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/1/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.263
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Mussad Alfouzan - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/21/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.264
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Natalie Jeremijenko - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.265
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Nick Coleman - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/10/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.266
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Nick Davis - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/1/2013                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.267
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Nicole Anderson - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.268
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Nithin Mettu - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/11/2017                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.269
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Noemi Tomasto - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.270
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Norberto Duarte - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.271
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Norman Schmid - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/22/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.272
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Olivia Koerfer - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/14/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.273
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Pablo Basso - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/23/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.274
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Patrick Collison - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/27/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.275
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Patrick Dolan - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.276
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Patrick Foley - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.277
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Patrick Guerin - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.278
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Patrick Stoy - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.279
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Paul Poulsen - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/9/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.280
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Paulette Rush - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/14/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.281
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Peder Naerboe - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/24/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.282
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Pei-Hsien Yuan - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.283
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Perry Roach - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.284
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Peter Budd - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2013                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.285
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Peter Gehrke - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.286
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Peter Landgrave - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/30/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.287
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Peter Nijland - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/17/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.288
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Peter Wahlback - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/3/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.289
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Piao Song Mei - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2008                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.290
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Pompiliu Sabin Tripa - Address Redacted                Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.291
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Rafael Rotter Meda - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/7/2015                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.292
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Raffaele Rossi Patriarca - Address Redacted            Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.293
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Ralph Ashorn - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/18/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.294
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Ramon Osmena - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/9/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.295
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Raul Pera - Address Redacted                           Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/27/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.296
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Ray Courtemanche Jr - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.297
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Ray Ferrell - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            9/1/2009                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.298
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Ray Rose - Address Redacted                            Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            2/6/2018                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.299
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Renato Schmekel - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/8/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.300
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Rex Runzheimer - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.301
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Rian Alisjahbana - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.302
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Ricardo Isaza - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.303
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Richard Bertossa - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/16/2011                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.304
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Richard Boling - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/5/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.305
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Richard Phillips - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.306
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Richard Schroebel - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/22/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.307
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Rob Bartolucci - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/23/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.308
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Rob Engelke - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/19/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.309
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Rob Gingell - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2010                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.310
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Robert Call - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/16/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.311
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Robert Inch - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.312
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Robert Mcneel - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/4/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.313
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Robert Ricciardelli - Address Redacted                 Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/30/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.314
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Robert Schofield - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/5/2015                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.315
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Robert Sheppard - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.316
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Robert Shinn - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/18/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.317
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Robert Smith - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/19/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
          Name
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  2.318
                                                                   As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            Robert Thompson - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/6/2012                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.319
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Robert Winter - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.320
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Roger Bourm - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.321
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Rogerio Marin - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/23/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.322
                                                                   As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            Rohan Walter - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/8/2012                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.323
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Ronald Logan - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/15/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.324
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Ronald Mclawhon - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.325
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Rondel Assets, INC - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/5/2012                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.326
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Ross Tufford - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/24/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.327
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Royal Hashemite Court - Address Redacted               Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/8/2017                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.328
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Rupert Gladstone - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.329
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Russell Gross - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/2/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.330
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Russell Luxford - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/22/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.331
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Ryan Arsenault - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/22/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.332
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Saghar Karimi - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/25/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.333
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Samer Baassiri - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/27/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.334
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Samuel Afdal - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/21/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.335
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Sanat Kumara - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/1/2015                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.336
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Scott Deluise - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/13/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.337
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Scott Lovdal - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/8/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.338
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Scott Pace - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/20/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.339
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Scott Rudolph - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/30/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.340
                                                                   As of the petition filing date, the claim is:               $20,000.00                   $3,350.00
            Sean Hayes - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/30/2023                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.341
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Sean Howard - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/1/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
          Name
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  2.342
                                                                   As of the petition filing date, the claim is:               $19,000.00                   $3,350.00
            Sean Sutton - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            Various                                                    Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.343
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Shanyu Zhang - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/22/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.344
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Sheng Shun Ba - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.345
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Simon Ray - Address Redacted                           Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2013                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.346
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            Solano County Treasurer                                Check all that apply.
            Attn: CHARLES A. LOMELI
                                                                       Contingent
            675 Texas St # 1900
            Fairfield, CA 94533                                        Unliquidated

            Date or dates debt was incurred                            Disputed
            Undetermined                                           Basis for the claim:
            Last 4 digits of account number                        Tax Claim
                                                                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured             No
            claim:
                                                                      Yes
            11 U.S.C. § 507(a) ( 8 )

  2.347
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Sonia Fenik - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.348
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Soyeb Isap - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/23/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.349
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Sreedhar Kommineni - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/28/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.350
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            State of Nevada Department of Taxation                 Check all that apply.
            4600 Kietzke Lane, Building L, Suite 235
                                                                       Contingent
            Reno, NV 89502
                                                                       Unliquidated
            Date or dates debt was incurred
            Undetermined                                               Disputed

            Last 4 digits of account number                        Basis for the claim:
                                                                   Tax Claim

            Specify Code subsection of PRIORITY unsecured          Is the claim subject to offset?
            claim:                                                    No
            11 U.S.C. § 507(a) ( 8 )
                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.351
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            State of Wisconsin Department Of Revenue               Check all that apply.
            2135 Rimrock Road
                                                                       Contingent
            Madison, WI 53713
                                                                       Unliquidated
            Date or dates debt was incurred
            Undetermined                                               Disputed

            Last 4 digits of account number                        Basis for the claim:
                                                                   Tax Claim

            Specify Code subsection of PRIORITY unsecured          Is the claim subject to offset?
            claim:                                                    No
            11 U.S.C. § 507(a) ( 8 )
                                                                      Yes


  2.352
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Steve Baxter - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            2/14/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.353
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Steve Curtis - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            1/6/2015                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.354
                                                                   As of the petition filing date, the claim is:               $20,000.00                   $3,350.00
            Steve Landers - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            9/19/2023                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.355
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Steve Pegram - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/14/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.356
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Steve Rhodes - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/18/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.357
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Steven Baron - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.358
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Steven Byle - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/31/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.359
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Steven Ma - Address Redacted                           Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.360
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Steven Mayer - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.361
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Steven Robert - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/23/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.362
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Steven Westrick - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/5/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.363
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Stevens Coulombe - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.364
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Stuart Potter - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/2/2008                                                   Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.365
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Sumit Dalwadi - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/16/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.366
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Sven Grail - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.367
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Svetislav Milic - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            4/4/2012                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.368
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Tarique Haque - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/19/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.369
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            Texas Comptroller                                      Check all that apply.
            Lyndon B. Johnson State Office Building
                                                                       Contingent
            111 East 17th Street
            Austin, TX 78774                                           Unliquidated

            Date or dates debt was incurred                            Disputed
            Undetermined                                           Basis for the claim:
            Last 4 digits of account number                        Tax Claim
                                                                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured             No
            claim:
                                                                      Yes
            11 U.S.C. § 507(a) ( 8 )

  2.370
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Thiago Lamberti - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/9/2013                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.371
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Thomas Adcock - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.372
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Thomas Bowen - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.373
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Thomas Chatfield - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.374
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Thomas Guinand - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/8/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.375
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Thomas Jagemann - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/21/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.376
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Thomas Kaufman - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/14/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.377
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Thomas Sharp - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/21/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed

                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.378
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Thomas Smith - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            10/28/2008                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.379
                                                                   As of the petition filing date, the claim is:                $3,000.00                   $3,000.00
            Timofey Sukhotin - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/4/2012                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.380
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Timothy Mcconnell - Address Redacted                   Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.381
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Todd Johnson - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.382
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Tom Thomson - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/25/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.383
                                                                   As of the petition filing date, the claim is:              $207,600.00                   $3,350.00
            Tota Ueno - Address Redacted                           Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            2/24/2021                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.384
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Ullswater Investments Limited                          Check all that apply.
            3rd Floor, Montague Sterling Center, East Bay Street
                                                                       Contingent
            New York, NY N3242
            Barbados                                                   Unliquidated

            Date or dates debt was incurred                            Disputed
            4/16/2015                                              Basis for the claim:
            Last 4 digits of account number                        Customer Deposit
                                                                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured             No
            claim:
                                                                      Yes
            11 U.S.C. § 507(a) ( 7 )

  2.385
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Usman Isap - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/2/2017                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.386
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            Vacaville Tax Collector                                Check all that apply.
            650 Merchant Street
                                                                       Contingent
            Vacaville, CA 95688
                                                                       Unliquidated
            Date or dates debt was incurred
            Undetermined                                               Disputed

            Last 4 digits of account number                        Basis for the claim:
                                                                   Tax Claim

            Specify Code subsection of PRIORITY unsecured          Is the claim subject to offset?
            claim:                                                    No
            11 U.S.C. § 507(a) ( 8 )
                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.387
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Victor Adrian Quadrini - Address Redacted              Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/3/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.388
                                                                   As of the petition filing date, the claim is:               $35,000.00                   $3,350.00
            Victor Ballestas - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/29/2021                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.389
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Victor Looft - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/4/2016                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.390
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Vikas Bhushan - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/23/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.391
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Vladas Lasas - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            6/18/2008                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.392
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Vladimir Antonio - Address Redacted                    Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/31/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________              Case number (if known) 24-10703________________________________________
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  2.393
                                                                     As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Vladimir Kopytin - Address Redacted                      Check all that apply.
                                                                         Contingent
            Date or dates debt was incurred
            7/27/2012                                                    Unliquidated

            Last 4 digits of account number                              Disputed
                                                                     Basis for the claim:
            Specify Code subsection of PRIORITY unsecured            Customer Deposit
            claim:
                                                                     Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                        No

                                                                        Yes


  2.394
                                                                     As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Wael Pharaon - Address Redacted                          Check all that apply.
                                                                         Contingent
            Date or dates debt was incurred
            4/2/2009                                                     Unliquidated

            Last 4 digits of account number                              Disputed
                                                                     Basis for the claim:
            Specify Code subsection of PRIORITY unsecured            Customer Deposit
            claim:                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                        No

                                                                        Yes


  2.395
                                                                     As of the petition filing date, the claim is:     Undetermined               Undetermined
            Washington Secretary of State Corporations & Charities   Check all that apply.
            Division
                                                                         Contingent
            801 Capitol Way
            South Olympia, WA 98501                                      Unliquidated

            Date or dates debt was incurred                              Disputed
            Undetermined                                             Basis for the claim:
            Last 4 digits of account number                          Tax Claim
                                                                     Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured               No
            claim:
                                                                        Yes
            11 U.S.C. § 507(a) ( 8 )
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.396
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
            Washington State Department of Revenue                 Check all that apply.
            Attn: Bankruptcy Unit
                                                                       Contingent
            2101 4th Ave, Suite 1400
            Seattle, WA 98121                                          Unliquidated

            Date or dates debt was incurred                            Disputed
            Undetermined                                           Basis for the claim:
            Last 4 digits of account number                        Tax Claim
                                                                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured             No
            claim:
            11 U.S.C. § 507(a) ( 8 )                                  Yes


  2.397
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Wayne Holder - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/22/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.398
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Wayne Nugent - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/16/2016                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.399
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Wee Boon Chan - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/30/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.400
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            William Harris - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/29/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.401
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            William Jones - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/24/2015                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.402
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            William Kautz - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/24/2013                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.403
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            William Schmidt - Address Redacted                     Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/28/2014                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.404
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Win Yindeepit - Address Redacted                       Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            11/17/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
          Name
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  2.405
                                                                   As of the petition filing date, the claim is:                $1,000.00                   $1,000.00
            Winn Fincher - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/28/2017                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.406
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Winston Diamantino - Address Redacted                  Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            12/25/2015                                                 Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.407
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Yamal Yibrin - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/17/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
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  2.408
                                                                   As of the petition filing date, the claim is:               $10,000.00                   $3,350.00
            Ye Zhang - Address Redacted                            Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            5/11/2009                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes

  2.409
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Yuda Doron - Address Redacted                          Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            3/19/2016                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.410
                                                                   As of the petition filing date, the claim is:                $5,000.00                   $3,350.00
            Yury Riabko - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/8/2008                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________            Case number (if known) 24-10703________________________________________
          Name
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  2.411
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Zeljko Popovic - Address Redacted                      Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2012                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.412
                                                                   As of the petition filing date, the claim is:               $10,000.00                   $3,350.00
            Zhicheng Cen - Address Redacted                        Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            8/2/2014                                                   Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:                                                 Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes


  2.413
                                                                   As of the petition filing date, the claim is:                $2,000.00                   $2,000.00
            Zhigang Qiu - Address Redacted                         Check all that apply.
                                                                       Contingent
            Date or dates debt was incurred
            7/26/2011                                                  Unliquidated

            Last 4 digits of account number                            Disputed
                                                                   Basis for the claim:
            Specify Code subsection of PRIORITY unsecured          Customer Deposit
            claim:
                                                                   Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                      No

                                                                      Yes
Debtor    ICON Aircraft, Inc.______________________________________________________                      Case number (if known) 24-10703________________________________________
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  2.414
                                                                            As of the petition filing date, the claim is:                      $5,000.00                       $3,350.00
            Zhijian Lin - Address Redacted                                  Check all that apply.
                                                                                 Contingent
            Date or dates debt was incurred
            11/2/2011                                                            Unliquidated

            Last 4 digits of account number                                      Disputed
                                                                            Basis for the claim:
            Specify Code subsection of PRIORITY unsecured                   Customer Deposit
            claim:
                                                                            Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 7 )
                                                                                No

                                                                                Yes

  Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and attach the
  Additional Page of Part 2.

                                                                                                                                                                  Amount of claim

  3.1
                                                                                               As of the petition filing date, the claim is:                                   $2,225.50
            A E Graphix, Inc                                                                   Check all that apply.
            121 Rush Court
                                                                                                    Contingent
            Elkhart, IN 46516
                                                                                                    Unliquidated
            Date or dates debt was incurred
            3/22/2024                                                                               Disputed
                                                                                               Basis for the claim:
                                                                                               Trade Claim
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes

  3.2
                                                                                               As of the petition filing date, the claim is:                                     $633.85
            Air Graphic LLC                                                                    Check all that apply.
            5525 Bjorksten Place
                                                                                                    Contingent
            Fitchburg, WI 53711
                                                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                                                 Disputed
                                                                                               Basis for the claim:
                                                                                               Trade Claim
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.3
                                                                                     As of the petition filing date, the claim is:                            $821.25
           Aircraft Covers, Inc.                                                     Check all that apply.
           18850 Adams Ct.
                                                                                         Contingent
           Morgan Hill, CA 95037
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/27/2024                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.4
                                                                                     As of the petition filing date, the claim is:                          $2,000.00
           Albert Gusenbauer - Address Redacted                                      Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           2/1/2024                                                                      Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.5
                                                                                     As of the petition filing date, the claim is:                            $408.49
           Amazon.com                                                                Check all that apply.
           410 Terry Ave N
                                                                                         Contingent
           Seattle, WA 98109
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.6
                                                                                     As of the petition filing date, the claim is:                          $6,692.35
           Andrews Aviation                                                          Check all that apply.
           2500 Highway 297a
                                                                                         Contingent
           Cantonment, FL 32533
                                                                                         Unliquidated
           Date or dates debt was incurred
           2/26/2024                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.7
                                                                                     As of the petition filing date, the claim is:                          $1,976.25
           AOPA Media                                                                Check all that apply.
           421 Aviation Way
                                                                                         Contingent
           Frederick, MD 21701
                                                                                         Unliquidated
           Date or dates debt was incurred
           12/13/2023                                                                    Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.8
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Asset Management Company Venture Fund, L.P.                               Check all that apply.
           2595 East Bayshore Road, Suite 240
                                                                                         Contingent
           Palo Alto, CA 94303
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Litigation Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.9
                                                                                     As of the petition filing date, the claim is:                         $16,300.04
           Atlas Aviation                                                            Check all that apply.
           825 Severn Avenue
                                                                                         Contingent
           Tampa, FL 33606
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.10
                                                                                     As of the petition filing date, the claim is:                          $7,709.25
           Automated Mfg Inc.                                                        Check all that apply.
           N115W19280 Edison Drive
                                                                                         Contingent
           Germantown, WI 53022
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.11
                                                                                     As of the petition filing date, the claim is:                          $7,357.33
           Aviall - Boeing                                                           Check all that apply.
           3660 Regent Boulevard
                                                                                         Contingent
           Irving, TX 75063
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.12
                                                                                     As of the petition filing date, the claim is:                          $4,769.79
           Avis Rent A Car System, Inc                                               Check all that apply.
           7876 Collections Center Drive
                                                                                         Contingent
           Chicago, IL 60693
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/1/2024                                                                      Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.13
                                                                                     As of the petition filing date, the claim is:                          $1,434.26
           Beringer Aero USA                                                         Check all that apply.
           Attn: Trevor Burnette
                                                                                         Contingent
           Aope-Champ Eymi
           Tallard, FR F-05130                                                           Unliquidated
           France
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           Various                                                                   Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.14
                                                                                     As of the petition filing date, the claim is:                          $2,250.00
           BMC Group VDR LLC                                                         Check all that apply.
           3732 W 120th St
                                                                                         Contingent
           Hawthorne, CA 90250
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.15
                                                                                     As of the petition filing date, the claim is:                          $1,113.50
           Boeing Distribution Services Inc.                                         Check all that apply.
           1351 Charles Willard Street
                                                                                         Contingent
           CARSON, CA 90746
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.16
                                                                                     As of the petition filing date, the claim is:                         $17,520.00
           Bose Corporation                                                          Check all that apply.
           100 The Mountain Road, MS 271
                                                                                         Contingent
           Farmingham, MA 01701
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/28/2023                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.17
                                                                                     As of the petition filing date, the claim is:                         $49,352.00
           Breezlyte LLC                                                             Check all that apply.
           2141 Icon Way #600
                                                                                         Contingent
           Vacaville, CA 95688
                                                                                         Unliquidated
           Date or dates debt was incurred
           Undetermined                                                                  Disputed

                                                                                     Basis for the claim:
                                                                                     Security Deposit
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.18
                                                                                     As of the petition filing date, the claim is:                          $3,870.00
           Byron Young - Address Redacted                                            Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           4/1/2024                                                                      Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.19
                                                                                     As of the petition filing date, the claim is:                         $12,337.80
           CABLE CONNECTION                                                          Check all that apply.
           Attn: Jim Bush and Trish O'Leary
                                                                                         Contingent
           1035 Mission Court
           Fremont, CA 94539                                                             Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.20
                                                                                     As of the petition filing date, the claim is:                          $6,000.00
           Castor Transport LLC                                                      Check all that apply.
           9651 Airway RD Suite C
                                                                                         Contingent
           San Diego, CA 92154
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.21
                                                                                     As of the petition filing date, the claim is:                            $850.00
           Chuck Coleman - Address Redacted                                          Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           4/4/2024                                                                      Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.22
                                                                                     As of the petition filing date, the claim is:                            $188.00
           Clark Pest Control                                                        Check all that apply.
           PO Box 6015
                                                                                         Contingent
           Whitter, CA 90607-6015
           USA                                                                           Unliquidated

           Date or dates debt was incurred                                               Disputed
           4/4/2024                                                                  Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.23
                                                                                     As of the petition filing date, the claim is:                          $1,872.00
           Connectwise LLC                                                           Check all that apply.
           400 N Tampa Street, Suite 130
                                                                                         Contingent
           Tampa, FL 33602
                                                                                         Unliquidated
           Date or dates debt was incurred
           5/25/2023                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.24
                                                                                     As of the petition filing date, the claim is:                          $1,925.00
           Control+M Solutions, LLC                                                  Check all that apply.
           912 Bayberry Ln
                                                                                         Contingent
           Kohler, WI 53044
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.25
                                                                                     As of the petition filing date, the claim is:                            $478.00
           Dakings Rapid Manufacturing Co., Limited                                  Check all that apply.
           Block A, BAI TONG Industrial Park
                                                                                         Contingent
           Shajing, Baoan
           Shenzhen, 0 518104                                                            Unliquidated

           Date or dates debt was incurred                                               Disputed
           2/26/2024                                                                 Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.26
                                                                                     As of the petition filing date, the claim is:                          $1,697.68
           Didier Makowski - Address Redacted                                        Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           4/1/2024                                                                      Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.27
                                                                                     As of the petition filing date, the claim is:                            $120.00
           Eagle Aircraft Maintenance LLC                                            Check all that apply.
           985 Charles Lindbergh Dr. Suite 2B
                                                                                         Contingent
           Jacksonville, FL 32225
                                                                                         Unliquidated
           Date or dates debt was incurred
           2/26/2024                                                                     Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.28
                                                                                     As of the petition filing date, the claim is:                         $11,318.07
           East West Administrators                                                  Check all that apply.
           PO Box 14817
                                                                                         Contingent
           San Francisco, CA 94114
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/4/2024                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.29
                                                                                     As of the petition filing date, the claim is:                     $18,552,062.50
           East West Bank                                                            Check all that apply.
           Attn: Kate Chi
                                                                                         Contingent
           9300 Flair Drive, 6th Fl
           El Monte, CA 91731                                                            Unliquidated

           Date or dates debt was incurred                                               Disputed
           12/22/2022                                                                Basis for the claim:
                                                                                     Note Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.30
                                                                                     As of the petition filing date, the claim is:                     $40,638,888.89
           East West Bank                                                            Check all that apply.
           Attn: Kate Chi
                                                                                         Contingent
           9300 Flair Drive, 6th Fl
           El Monte, CA 91731                                                            Unliquidated

           Date or dates debt was incurred                                               Disputed
           12/24/2020                                                                Basis for the claim:
                                                                                     Note Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.31
                                                                                     As of the petition filing date, the claim is:                      $6,580,888.89
           East West Bank                                                            Check all that apply.
           Attn: Kate Chi
                                                                                         Contingent
           9300 Flair Drive, 6th Fl
           El Monte, CA 91731                                                            Unliquidated

           Date or dates debt was incurred                                               Disputed
           2/6/2023                                                                  Basis for the claim:
                                                                                     Note Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.32
                                                                                     As of the petition filing date, the claim is:                          $8,358.12
           Everlaw, Inc                                                              Check all that apply.
           Attn: Cameron Robert Menteer
                                                                                         Contingent
           2101 Webster St
           Ste 1500                                                                      Unliquidated
           Oakland, CA 94612
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           Various                                                                   Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.33
                                                                                     As of the petition filing date, the claim is:                          $7,576.63
           Fastenal Company                                                          Check all that apply.
           821 Eubanks Drive. Suite B
                                                                                         Contingent
           Vacaville, CA 95688
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.34
                                                                                     As of the petition filing date, the claim is:                         $17,323.98
           FedEx - Supply Chain                                                      Check all that apply.
           P.O. Box 7221
                                                                                         Contingent
           Pasadena, CA 91109-7321
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.35
                                                                                     As of the petition filing date, the claim is:                          $6,101.31
           FedEx Freight                                                             Check all that apply.
           Dept LA PO Box 21415
                                                                                         Contingent
           Pasadena, CA 91185-1415
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.36
                                                                                     As of the petition filing date, the claim is:                      $3,355,068.49
           FEIREN International Co., Limited                                         Check all that apply.
           12/F, Henley Building, 5 Queen's Road Central
                                                                                         Contingent
           Hong Kong
           China                                                                         Unliquidated

           Date or dates debt was incurred                                               Disputed
           3/14/2023                                                                 Basis for the claim:
                                                                                     Note Payable
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.37
                                                                                     As of the petition filing date, the claim is:                      $5,425,205.45
           FEIREN International Co., Limited                                         Check all that apply.
           12/F, Henley Building, 5 Queen's Road Central
                                                                                         Contingent
           Hong Kong
           China                                                                         Unliquidated

           Date or dates debt was incurred                                               Disputed
           3/14/2023                                                                 Basis for the claim:
                                                                                     $5mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.38
                                                                                     As of the petition filing date, the claim is:                      $5,707,945.15
           FEIREN International Co., Limited                                         Check all that apply.
           12/F, Henley Building, 5 Queen's Road Central
                                                                                         Contingent
           Hong Kong
           China                                                                         Unliquidated

           Date or dates debt was incurred                                               Disputed
           6/29/2022                                                                 Basis for the claim:
                                                                                     $5mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.39
                                                                                     As of the petition filing date, the claim is:                         $10,656.60
           Fictiv                                                                    Check all that apply.
           Attn: Jeff Duncan
                                                                                         Contingent
           PO Box 14590
           Fremont, CA 94539-1090                                                        Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.40
                                                                                     As of the petition filing date, the claim is:                            $674.95
           Fisheries Supply                                                          Check all that apply.
           1900 N Northlake Way
                                                                                         Contingent
           Seattle, WA 98103
                                                                                         Unliquidated
           Date or dates debt was incurred
           1/23/2024                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.41
                                                                                     As of the petition filing date, the claim is:                          $2,675.70
           FlyWise Aviation LLC                                                      Check all that apply.
           FlyWise Aviation, LLC 14701 Pioneer Trail
                                                                                         Contingent
           Eden Prairie, MN 55347
                                                                                         Unliquidated
           Date or dates debt was incurred
           2/16/2024                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.42
                                                                                     As of the petition filing date, the claim is:                            $936.75
           Garmin USA Inc.                                                           Check all that apply.
           Attn: Diane Commodore
                                                                                         Contingent
           1200 East 151st Street
           Olathe, KS 66062                                                              Unliquidated

           Date or dates debt was incurred                                               Disputed
           2/21/2024                                                                 Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.43
                                                                                     As of the petition filing date, the claim is:                          $2,922.00
           Global Technology Ventures, Inc.                                          Check all that apply.
           Attn: Susan L. Willis
                                                                                         Contingent
           37408 Hills Tech Drive
           Farmington Hills, MI 48331                                                    Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.44
                                                                                     As of the petition filing date, the claim is:                          $6,148.85
           GM Financial                                                              Check all that apply.
           801 Cherry Street, Ste. 3600
                                                                                         Contingent
           Fort Worth, TX 76102
                                                                                         Unliquidated
           Date or dates debt was incurred
           8/30/2018                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Vehicle Loan
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.45
                                                                                     As of the petition filing date, the claim is:                          $5,286.28
           GM Financial                                                              Check all that apply.
           801 Cherry Street, Ste. 3600
                                                                                         Contingent
           Fort Worth, TX 76102
                                                                                         Unliquidated
           Date or dates debt was incurred
           7/17/2018                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Vehicle Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.46
                                                                                     As of the petition filing date, the claim is:                             $75.20
           Grainger                                                                  Check all that apply.
           Dept. 873567671
                                                                                         Contingent
           Palatine, IL 60038-0001
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.47
                                                                                     As of the petition filing date, the claim is:                            $367.13
           HELICES E-PROPS                                                           Check all that apply.
           195, Route de l'Aviation, ZI AÃ©rodrome de Sisteron
                                                                                         Contingent
           Vaumeilh F-04200
           France                                                                        Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.48
                                                                                     As of the petition filing date, the claim is:                          $4,480.75
           Hillsborough County Aviation Authority                                    Check all that apply.
           P.O. Box 22287
                                                                                         Contingent
           Tampa, FL 33622
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.49
                                                                                     As of the petition filing date, the claim is:                            $200.00
           Hood Tech Crop Aero Inc                                                   Check all that apply.
           1750 Country Club Road
                                                                                         Contingent
           Hood River, OR 97031
                                                                                         Unliquidated
           Date or dates debt was incurred
           8/18/2022                                                                     Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.50
                                                                                     As of the petition filing date, the claim is:                          $4,101.98
           IT1Source                                                                 Check all that apply.
           4110 N. Scottsdale Road #300
                                                                                         Contingent
           Scottsdale, AZ 85251
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/22/2024                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.51
                                                                                     As of the petition filing date, the claim is:                          $7,170.40
           John Mavronicles - Address Redacted                                       Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           3/31/2024                                                                     Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.52
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Kirk Hawkins - Address Redacted                                           Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           Various                                                                       Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Litigation Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.53
                                                                                     As of the petition filing date, the claim is:                            $605.00
           LUSTRE-CAL                                                                Check all that apply.
           715 S Guild Ave
                                                                                         Contingent
           Lodi, CA 95240
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/13/2024                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.54
                                                                                     As of the petition filing date, the claim is:                          $2,820.53
           LX Navigation d.o.o.                                                      Check all that apply.
           Tkalska 10 3000 Celje
                                                                                         Contingent
           Celje
           Slovenia                                                                      Unliquidated

           Date or dates debt was incurred                                               Disputed
           2/29/2024                                                                 Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.55
                                                                                     As of the petition filing date, the claim is:                       $105,040.25
           Mangrove Insurance Solutions, PCC                                         Check all that apply.
           C/O Marsh Management Services
                                                                                         Contingent
           Attn: Nick Grove
           463 Mountain View Drive, Suite 301                                            Unliquidated
           Colchester, VT 05446
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           4/1/2024                                                                  Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.56
                                                                                     As of the petition filing date, the claim is:                            $556.94
           MANKIEWICZ COATINGS, LLC                                                  Check all that apply.
           415 JESSEN LANE
                                                                                         Contingent
           CHARLESTON, SC 29492
                                                                                         Unliquidated
           Date or dates debt was incurred
           10/25/2023                                                                    Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.57
                                                                                     As of the petition filing date, the claim is:                          $4,000.00
           Marco Altamirano Salcedo - Address Redacted                               Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           4/1/2024                                                                      Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.58
                                                                                     As of the petition filing date, the claim is:                          $5,047.00
           Martensen IP                                                              Check all that apply.
           30 E Kiowa St, Suite 101
                                                                                         Contingent
           Colorado Springs, CO 80903
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/3/2024                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.59
                                                                                     As of the petition filing date, the claim is:                         $64,759.64
           McCarter & English, LLP                                                   Check all that apply.
           Attn: Andrea Wilhelme
                                                                                         Contingent
           Four Gateway Center, 100 Mulberry St
           Newark, NJ 07102                                                              Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.60
                                                                                     As of the petition filing date, the claim is:                            $422.27
           McMaster-Carr                                                             Check all that apply.
           P.O. Box 7690
                                                                                         Contingent
           Chicago, IL 60680-7690
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.61
                                                                                     As of the petition filing date, the claim is:                          $4,215.00
           Million Air White Plains                                                  Check all that apply.
           7555 IPSwich Road
                                                                                         Contingent
           Houston, TX 77061
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.62
                                                                                     As of the petition filing date, the claim is:                          $3,922.64
           NorthWest Flight Services                                                 Check all that apply.
           6095 E. Rutter Ave.
                                                                                         Contingent
           Spokane, WA 99212
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.63
                                                                                     As of the petition filing date, the claim is:                          $8,544.61
           NTT Global Data Centers Americas, Inc                                     Check all that apply.
           1625 National Dr
                                                                                         Contingent
           Sacramento, CA 95834-2901
           US                                                                            Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.64
                                                                                     As of the petition filing date, the claim is:                          $2,700.00
           Oak Paper Products Company, Inc.                                          Check all that apply.
           3686 E. Olympic Blvd.
                                                                                         Contingent
           Los Angeles, CA 90023
                                                                                         Unliquidated
           Date or dates debt was incurred
           1/16/2024                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.65
                                                                                     As of the petition filing date, the claim is:                          $7,314.00
           OTTO Engineering Inc                                                      Check all that apply.
           Attn: Steve Redlich
                                                                                         Contingent
           2 East Main Street
           Carpentersville, IL 60110                                                     Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.66
                                                                                     As of the petition filing date, the claim is:                         $21,046.09
           PG&E                                                                      Check all that apply.
           PO Box No. 997300
                                                                                         Contingent
           Sacramento, CA 95899
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.67
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Philip Condit - Address Redacted                                          Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           Various                                                                       Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Litigation Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.68
                                                                                     As of the petition filing date, the claim is:                         $36,164.35
           PK Capital L.P.                                                           Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           9/18/2020                                                                 Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.69
                                                                                     As of the petition filing date, the claim is:                         $14,465.72
           PK Capital L.P.                                                           Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           11/18/2020                                                                Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.70
                                                                                     As of the petition filing date, the claim is:                            $857.92
           PPG Aerospace                                                             Check all that apply.
           24811 Avenue Rockefeller
                                                                                         Contingent
           Valencia, CA 91355
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/6/2024                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.71
                                                                                     As of the petition filing date, the claim is:                          $1,675.75
           Proto Labs, Inc                                                           Check all that apply.
           5540 Pioneer Creek Dr.
                                                                                         Contingent
           Maple Plain, MN 55359
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.72
                                                                                     As of the petition filing date, the claim is:                      $2,123,178.06
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/29/2023                                                                 $2mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.73
                                                                                     As of the petition filing date, the claim is:                      $1,500,306.92
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           5/3/2022                                                                  $1.3mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.74
                                                                                     As of the petition filing date, the claim is:                      $1,663,397.24
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           11/25/2022                                                                $1.5mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.75
                                                                                     As of the petition filing date, the claim is:                      $2,647,835.67
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           5/16/2022                                                                 $2.3mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.76
                                                                                     As of the petition filing date, the claim is:                         $14,465.72
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           1/25/2021                                                                 Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.77
                                                                                     As of the petition filing date, the claim is:                      $1,552,931.51
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           10/27/2023                                                                $1.5mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.78
                                                                                     As of the petition filing date, the claim is:                      $1,658,794.50
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           12/9/2022                                                                 $1.5mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.79
                                                                                     As of the petition filing date, the claim is:                      $3,734,394.29
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           2/24/2022                                                                 $1mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.80
                                                                                     As of the petition filing date, the claim is:                      $2,083,726.01
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           9/27/2023                                                                 $2mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.81
                                                                                     As of the petition filing date, the claim is:                      $4,528,657.52
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           8/11/2022                                                                 $4mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.82
                                                                                     As of the petition filing date, the claim is:                     $31,335,194.72
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           3/29/2023                                                                 $28.9mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.83
                                                                                     As of the petition filing date, the claim is:                     $30,448,690.36
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           1/26/2021                                                                 $23.9mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.84
                                                                                     As of the petition filing date, the claim is:                      $1,065,315.05
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           6/12/2023                                                                 $1mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.85
                                                                                     As of the petition filing date, the claim is:                      $1,046,027.39
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           9/8/2023                                                                  $1mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.86
                                                                                     As of the petition filing date, the claim is:                     $16,546,575.36
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           3/20/2020                                                                 $12.5mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.87
                                                                                     As of the petition filing date, the claim is:                      $1,647,945.19
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           1/11/2023                                                                 $1.5mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.88
                                                                                     As of the petition filing date, the claim is:                      $2,049,972.60
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           12/13/2023                                                                $1.2mm Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.89
                                                                                     As of the petition filing date, the claim is:                      $2,064,438.35
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           11/10/2023                                                                $2mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.90
                                                                                     As of the petition filing date, the claim is:                         $79,561.67
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           1/25/2021                                                                 Convertible Promissory Notes
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
         Name
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  3.91
                                                                                     As of the petition filing date, the claim is:                      $3,167,671.23
           Pudong Science and Technology Investment Cayman Co., Ltd.                 Check all that apply.
           46F, Building 1, Lujiazui Century Financial Plaza
                                                                                         Contingent
           No. 729 South Yanggao Road, Pudong
           Shanghai 200127                                                               Unliquidated
           China
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           7/25/2023                                                                 $3mm Convertible Promissory Notes

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.92
                                                                                     As of the petition filing date, the claim is:                       $200,660.80
           PW Fund B, LP                                                             Check all that apply.
           C/O Buzz Oates Management Services, Inc.
                                                                                         Contingent
           Attn: Liz Ferneau and Yvette Perry
           555 Capitol Mall, Suite 900                                                   Unliquidated
           Sacramento, CA 95814
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
           Various                                                                   Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.93
                                                                                     As of the petition filing date, the claim is:                          $1,991.25
           Quarlink Corp.                                                            Check all that apply.
           Attn: Michel Yate
                                                                                         Contingent
           7657 Winnetka St. Suite 162
           Winnetka, CA 91306                                                            Unliquidated

           Date or dates debt was incurred                                               Disputed
           1/5/2024                                                                  Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.94
                                                                                     As of the petition filing date, the claim is:                            $800.00
           Rainer Flight Service, LLC                                                Check all that apply.
           800 West Perimeter Road
                                                                                         Contingent
           Renton, WA 98057
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/1/2024                                                                      Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.95
                                                                                     As of the petition filing date, the claim is:                          $1,500.00
           Rapid Deployment Transport LLC                                            Check all that apply.
           273 Applewood Center Place #172
                                                                                         Contingent
           Seneca, SC 29678
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/4/2024                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.96
                                                                                     As of the petition filing date, the claim is:                            $855.18
           Recology Vacaville Solano                                                 Check all that apply.
           1 Town Square Place, Suite 200
                                                                                         Contingent
           Vacaville, CA 95688
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/1/2024                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.97
                                                                                     As of the petition filing date, the claim is:                         $18,105.95
           Richards Layton & Finger                                                  Check all that apply.
           920 North King Street
                                                                                         Contingent
           Wilmington, DE 19801
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.98
                                                                                     As of the petition filing date, the claim is:                          $3,500.00
           Roberto Natal Arantes - Address Redacted                                  Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           Various                                                                       Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Claim
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor    ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.99
                                                                                      As of the petition filing date, the claim is:                         $50,532.00
            Rockwell Automation Inc.                                                  Check all that apply.
            Attn: Ken Brewster and Darren Walter
                                                                                          Contingent
            900 Tower Drive, Suite 1400
            Troy, MI 48098-2822                                                           Unliquidated

            Date or dates debt was incurred                                               Disputed
            3/1/2024                                                                  Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.100
                                                                                      As of the petition filing date, the claim is:                          $3,142.32
            RS Hughes                                                                 Check all that apply.
            8120 Berry Ave, Suite C
                                                                                          Contingent
            Sacramento, CA 95828
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.101
                                                                                      As of the petition filing date, the claim is:                          $1,143.32
            S.R. Brooks Company, Inc.                                                 Check all that apply.
            2550 Via Tejon, Suite 3-A
                                                                                          Contingent
            Palos Verdes Estates, CA 90274
                                                                                          Unliquidated
            Date or dates debt was incurred
            3/31/2024                                                                     Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.102
                                                                                      As of the petition filing date, the claim is:                            $134.66
            Samba Holdings, Inc                                                       Check all that apply.
            Dept LA 24536
                                                                                          Contingent
            Pasadena, CA 91185-4536
                                                                                          Unliquidated
            Date or dates debt was incurred
            3/31/2024                                                                     Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
          Name
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  3.103
                                                                                      As of the petition filing date, the claim is:                          $2,515.00
            San Diego Aircraft Interiors                                              Check all that apply.
            2381 Boswell Rd
                                                                                          Contingent
            Chula Vista, CA 91914
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed

                                                                                      Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.104
                                                                                      As of the petition filing date, the claim is:                            $640.50
            Sandpiper Air                                                             Check all that apply.
            Dillon's Aviation Inc 1105 N. Memorial Drive
                                                                                          Contingent
            Greenville, NC 27834
                                                                                          Unliquidated
            Date or dates debt was incurred
            2/2/2024                                                                      Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.105
                                                                                      As of the petition filing date, the claim is:                          $1,496.80
            Shapeways                                                                 Check all that apply.
            419 Park Ave South Suite 900
                                                                                          Contingent
            New York City, NY 10016
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.106
                                                                                      As of the petition filing date, the claim is:                          $6,470.00
            Shenzhen Xindonghui Technology Co. Ltd.                                   Check all that apply.
            17E Quanzhi Science Technology park
                                                                                          Contingent
            Shasong Rd, Shajing Town, Baoan District
            Shenzhen City, Guangdong 518104                                               Unliquidated
            China
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
            Various                                                                   Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
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  3.107
                                                                                      As of the petition filing date, the claim is:                         $10,046.00
            Shenzhen ZTL Technology Co. Ltd                                           Check all that apply.
            UNIT 2508A 25/F BANK OF AMERICA TOWER 12 HARCOURT RD
                                                                                          Contingent
            CENTRAL HK
            HK                                                                            Unliquidated

            Date or dates debt was incurred                                               Disputed
            Various                                                                   Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.108
                                                                                      As of the petition filing date, the claim is:                         $13,017.85
            Siemens Industry, Inc.                                                    Check all that apply.
            C/O Citibank (Bldg Tech)
                                                                                          Contingent
            PO Box 2134
            Carol Stream, IL 60132-2134                                                   Unliquidated

            Date or dates debt was incurred                                               Disputed
            Various                                                                   Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.109
                                                                                      As of the petition filing date, the claim is:                            $143.10
            SkyGeek                                                                   Check all that apply.
            30 Airway Drive, Ste 2
                                                                                          Contingent
            LaGrangeville, NY 12540
                                                                                          Unliquidated
            Date or dates debt was incurred
            2/12/2024                                                                     Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.110
                                                                                      As of the petition filing date, the claim is:              Undetermined
            Snowcrest Partners, LLC                                                   Check all that apply.
            68 Mesa Ct
                                                                                          Contingent
            Atherton, CA 94207
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed

                                                                                      Basis for the claim:
                                                                                      Litigation Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
          Name
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  3.111
                                                                                      As of the petition filing date, the claim is:                         $56,619.00
            Solano County                                                             Check all that apply.
            301 County Airport Road
                                                                                          Contingent
            Vacaville, CA 95688
                                                                                          Unliquidated
            Date or dates debt was incurred
            2/9/2024                                                                      Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.112
                                                                                      As of the petition filing date, the claim is:              Undetermined
            Steen Strand - Address Redacted                                           Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
            Various                                                                       Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      Litigation Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.113
                                                                                      As of the petition filing date, the claim is:                            $195.00
            Technology For Engery Corporation                                         Check all that apply.
            10737 Lexington Dr
                                                                                          Contingent
            Knoxville, TN 37932-3294
                                                                                          Unliquidated
            Date or dates debt was incurred
            6/29/2023                                                                     Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.114
                                                                                      As of the petition filing date, the claim is:                            $535.00
            The Flight Shop, Inc                                                      Check all that apply.
            Attn: Jodie McNeely
                                                                                          Contingent
            1780 N. 2000 W. Hangar #21
            Brigham City, UT 84302                                                        Unliquidated

            Date or dates debt was incurred                                               Disputed
            Various                                                                   Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
          Name
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  3.115
                                                                                      As of the petition filing date, the claim is:                          $1,376.70
            The Sherwin-Williams Co                                                   Check all that apply.
            101 Prospect Ave
                                                                                          Contingent
            Cleveland, OH 44115
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.116
                                                                                      As of the petition filing date, the claim is:                            $450.00
            Thomas Hines dba Don't Get The Wrong Idea LLC                             Check all that apply.
            445 NE 70th Ave
                                                                                          Contingent
            Portland, OR 97213
                                                                                          Unliquidated
            Date or dates debt was incurred
            3/6/2024                                                                      Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.117
                                                                                      As of the petition filing date, the claim is:                          $2,250.00
            Todd Gerhardt - Address Redacted                                          Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
            3/19/2024                                                                     Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.118
                                                                                      As of the petition filing date, the claim is:                          $6,165.00
            Trenace Jeanette Burrows - Address Redacted                               Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
            3/29/2024                                                                     Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
          Name
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  3.119
                                                                                      As of the petition filing date, the claim is:                          $1,891.50
            TriStar Plastics Corporation                                              Check all that apply.
            23655 E Via del Rio
                                                                                          Contingent
            Yorba Linda, CA 92887
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed

                                                                                      Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.120
                                                                                      As of the petition filing date, the claim is:                         $24,272.97
            Trusted Tech Team, Inc.                                                   Check all that apply.
            5171 California Ave Ste 250
                                                                                          Contingent
            Irvine, CA 92617
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.121
                                                                                      As of the petition filing date, the claim is:                         $39,639.85
            TW Telecom                                                                Check all that apply.
            Attn: Michael D. Levy
                                                                                          Contingent
            PO Box 910182
            Denver, CO 80291-0182                                                         Unliquidated

            Date or dates debt was incurred                                               Disputed
            Various                                                                   Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.122
                                                                                      As of the petition filing date, the claim is:                            $604.04
            ULINE                                                                     Check all that apply.
            Attn: Accounts Receivable
                                                                                          Contingent
            PO Box 88741
            Chicago, IL 60680-1741                                                        Unliquidated

            Date or dates debt was incurred                                               Disputed
            Various                                                                   Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
          Name
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  3.123
                                                                                      As of the petition filing date, the claim is:                       $234,520.56
            UNIMAX ASSET HOLDINGS LTD                                                 Check all that apply.
            OMC Chambers, Wickhams Cay 1, Road Town
                                                                                          Contingent
            Tortola
            British Virgin Islands                                                        Unliquidated

            Date or dates debt was incurred                                               Disputed
            12/28/2020                                                                Basis for the claim:
                                                                                      $2.4mm Convertible Promissory Notes

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.124
                                                                                      As of the petition filing date, the claim is:                      $2,787,682.18
            UNIMAX ASSET HOLDINGS LTD                                                 Check all that apply.
            OMC Chambers, Wickhams Cay 1, Road Town
                                                                                          Contingent
            Tortola
            British Virgin Islands                                                        Unliquidated

            Date or dates debt was incurred                                               Disputed
            3/30/2022                                                                 Basis for the claim:
                                                                                      Convertible Promissory Notes
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.125
                                                                                      As of the petition filing date, the claim is:                            $151.05
            United Parcel Service of North America, Inc                               Check all that apply.
            PO BOX 650116
                                                                                          Contingent
            Dallas, TX 75265-0116
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.126
                                                                                      As of the petition filing date, the claim is:                            $750.00
            Vacaville Chamber of Commerce                                             Check all that apply.
            411 Davis St # 101,
                                                                                          Contingent
            Vacaville, CA, CA 95688
                                                                                          Unliquidated
            Date or dates debt was incurred
            4/2/2024                                                                      Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    ICON Aircraft, Inc.______________________________________________________             Case number (if known) 24-10703________________________________________
          Name
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  3.127
                                                                                      As of the petition filing date, the claim is:                          $2,437.83
            Victory Lane Aviation                                                     Check all that apply.
            9200 B Aviation Blvd
                                                                                          Contingent
            Concord, NC 28027
                                                                                          Unliquidated
            Date or dates debt was incurred
            2/26/2024                                                                     Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.128
                                                                                      As of the petition filing date, the claim is:                            $137.46
            Vital Records Holding, LLC                                                Check all that apply.
            PO Box 80493
                                                                                          Contingent
            City of Industry, CA 91716-4893
                                                                                          Unliquidated
            Date or dates debt was incurred
            3/31/2024                                                                     Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.129
                                                                                      As of the petition filing date, the claim is:                            $853.25
            WageWorks, Inc.                                                           Check all that apply.
            PO Box 45772
                                                                                          Contingent
            San Francisco, CA 94145-0772
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.130
                                                                                      As of the petition filing date, the claim is:                          $2,163.20
            Walker Stevens Cannom LLP                                                 Check all that apply.
            500 Molino Street #118
                                                                                          Contingent
            Los Angeles, CA 90013
                                                                                          Unliquidated
            Date or dates debt was incurred
            3/26/2024                                                                     Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Claim
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    ICON Aircraft, Inc.______________________________________________________                      Case number (if known) 24-10703________________________________________
          Name
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  3.131
                                                                                             As of the petition filing date, the claim is:                                $17,626.43
            Williams Scotsman, Inc.                                                          Check all that apply.
            PO Box 91975
                                                                                                  Contingent
            Chicago, IL 60693
                                                                                                  Unliquidated
            Date or dates debt was incurred
            Various                                                                               Disputed

                                                                                             Basis for the claim:
                                                                                             Trade Claim

                                                                                             Is the claim subject to offset?
                                                                                                 No

                                                                                                 Yes

  3.132
                                                                                             As of the petition filing date, the claim is:                                 $7,287.00
            XOMETRY, INC.                                                                    Check all that apply.
            Attn: Kirstin Stratton
                                                                                                  Contingent
            7951 CESSNA AVE
            GAITHERSBURG, MD 20879                                                                Unliquidated

            Date or dates debt was incurred                                                       Disputed
            Various                                                                          Basis for the claim:
                                                                                             Trade Claim
                                                                                             Is the claim subject to offset?
                                                                                                 No

                                                                                                 Yes

  Part 3:    List Others to Be Notified About Unsecured Claims

  4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related               Last 4 digits of
                                                                                                creditor (if any) listed?                                      account number, if any

  4.1
                                                                                                Line



                                                                                                       Not listed. Explain



  Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                               Total of claim amounts

  5a. Total claims from Part 1                                                                                                         5a.                            $7,493,450.33
  5b. Total claims from Part 2                                                                                                         5b.                          $195,255,876.23

  5c. Total of Parts 1 and 2                                                                                                           5c.
                                                                                                                                                                  $202,749,326.56
  Lines 5a + 5b = 5c.
                                  Case 24-10703-CTG                    Doc 176           Filed 05/09/24              Page 215 of 254

  Fill in this information to identify the case:

  Debtor name: ICON Aircraft, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 24-10703
                                                                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the debtor
                                                                                           has an executory contract or unexpired lease

2.1     State what the contract        Distribution Agreement
        or lease is for and the                                                           A5AIR Inc.
        nature of the debtor’s                                                            2-15 Kukokitamachi Kokuraminami Ward
        interest                                                                          Kitakyushu City, Fukuoka 800-0306
        State the term                 Undetermined
        remaining
        List the contract number
        of any government
        contract

2.2     State what the contract        Consultant Agreement
        or lease is for and the                                                           Aaron Williams - Address Redacted
        nature of the debtor’s
        interest
        State the term                 Undetermined
        remaining
        List the contract number
        of any government
        contract

2.3     State what the contract        ISP Agreement
                                                                                          Absolute Aero Inc.
        or lease is for and the
        nature of the debtor’s                                                            Matthew Terpstra
        interest                                                                          21889 Skywest Dr
        State the term                 Undetermined                                       Hayward, CA 94541
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.4      State what the contract    ISP Agreement
           or lease is for and the                                                   Ace Aviation (KRNT)
           nature of the debtor’s                                                    289 E Perimeter Rd
           interest                                                                  Renton, WA 98057
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.5      State what the contract    Services Agreement
           or lease is for and the                                                   Aces Technology Services, LLC
           nature of the debtor’s                                                    2441 Honolulu Ave
           interest                                                                  Ste 162
           State the term             Undetermined                                   Glendale, CA 91020
           remaining
           List the contract number
           of any government
           contract

  2.6      State what the contract    ISP Agreement
           or lease is for and the                                                   Aero city Maintenance
           nature of the debtor’s                                                    Ysmael Galera
           interest                                                                  2901 E Spring St
           State the term             Undetermined                                   Suite A
           remaining                                                                 Long Beach, CA 90806
           List the contract number
           of any government
           contract

  2.7      State what the contract    ISP Agreement
           or lease is for and the                                                   Aero Services Center
           nature of the debtor’s                                                    121 Aviation Dr
           interest                                                                  Bldg 4002
           State the term             Undetermined                                   Santa Fe, NM 87507
           remaining
           List the contract number
           of any government
           contract

  2.8      State what the contract    ISP Agreement
           or lease is for and the                                                   Aeronautical Services of Greenwood
           nature of the debtor’s                                                    322 Terminal Rd
           interest                                                                  Greenwood, SC 29649
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.9      State what the contract    Consultant Agreement
           or lease is for and the                                                   Airfilm Aviation Services LLC
           nature of the debtor’s                                                    6245 Aerodrome Way
           interest                                                                  Gerogetown, CA 95634
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________         Case number (if known) 24-10703________________________________________
         Name
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  2.10     State what the contract    Consultant Agreement
           or lease is for and the                                                   Alex Prasad - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.11     State what the contract    Offer Letter
           or lease is for and the                                                   Alexander Mason - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.12     State what the contract    Insurance Agreement
           or lease is for and the                                                   Allianz
           nature of the debtor’s                                                    P.O. Box 71533
           interest                                                                  Richmond,, VA 23255-1533
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.13     State what the contract    Non-Disclosure Agreement
           or lease is for and the                                                   Amr Elhosseiny - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.14     State what the contract    Aircraft Purchase Agreement
           or lease is for and the                                                   Andre John Bulot - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.15     State what the contract    Letter Agreement
           or lease is for and the                                                   Andre John Bulot - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.16     State what the contract    Aircraft Purchase Agreement
           or lease is for and the                                                   Andres Carrizosa - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.17     State what the contract    Offer Letter
           or lease is for and the                                                   Andrew Mesias - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.18     State what the contract    Severance Agreement
           or lease is for and the                                                   Andrew Mesias - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.19     State what the contract    Offer Letter
           or lease is for and the                                                   Anthony Curley - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.20     State what the contract    Insurance Agreement
           or lease is for and the                                                   ANV Global Services Inc.
           nature of the debtor’s                                                    200 Hudson Street, Suite 800
           interest                                                                  Jersey City, NJ 7311
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.21     State what the contract    ISP Agreement
           or lease is for and the                                                   Apex Aviation, Inc.
           nature of the debtor’s                                                    Melissa Mellett
           interest                                                                  1410 Jet Stream Dr
           State the term             Undetermined                                   Suite 100
           remaining                                                                 Henderson, NV 89052
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.22     State what the contract    ISP Agreement
           or lease is for and the                                                   APG AVIATION
           nature of the debtor’s                                                    John Joseph McCormack
           interest                                                                  8260 Skylane Way
           State the term             Undetermined                                   Punta Gorda, FL 33982
           remaining
           List the contract number
           of any government
           contract

  2.23     State what the contract    Insurance Agreement
           or lease is for and the                                                   Argonaut Insurance Company
           nature of the debtor’s                                                    Argo Pro Underwriting
           interest                                                                  PO Box 469012
           State the term             Undetermined                                   San Antonio, TX 78246
           remaining
           List the contract number
           of any government
           contract

  2.24     State what the contract    Extended Temporary Work Travel Letter
           or lease is for and the                                                   Austin Rodriguez - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.25     State what the contract    ISP Agreement
           or lease is for and the                                                   Avian Aeronautics
           nature of the debtor’s                                                    Keith A Mooney
           interest                                                                  8900 State Hwy 3
           State the term             Undetermined                                   Suite 102
           remaining                                                                 Bremerton, WA 98312
           List the contract number
           of any government
           contract

  2.26     State what the contract    Pilot Services Agreement
           or lease is for and the                                                   Ben Shipps - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.27     State what the contract    Offer Letter
           or lease is for and the                                                   Bill Nichols - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.28     State what the contract    ISP Agreement
           or lease is for and the                                                   Bill's Air Center
           nature of the debtor’s                                                    Max Keinzel
           interest                                                                  3147 Donald Douglas Loop S
           State the term             Undetermined                                   Santa Monica, CA 90405
           remaining
           List the contract number
           of any government
           contract

  2.29     State what the contract    ISP Agreement
           or lease is for and the                                                   BORDER AIR LTD
           nature of the debtor’s                                                    Cliff Coy
           interest                                                                  629 Airport Rd
           State the term             Undetermined                                   Swanton, VT 75672
           remaining
           List the contract number
           of any government
           contract

  2.30     State what the contract    Sublease
           or lease is for and the                                                   Breezlyte LLC
           nature of the debtor’s                                                    2141 Icon Way #600
           interest                                                                  Vacaville, CA 95688
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.31     State what the contract    Pilot Services Agreement
           or lease is for and the                                                   Bruce Bolla - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.32     State what the contract    Offer Letter
           or lease is for and the                                                   Bryan Duran - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.33     State what the contract    Offer Letter
           or lease is for and the                                                   Byron Pittman - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.34     State what the contract    Consultant Agreement
           or lease is for and the                                                   Byron Young - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.35     State what the contract    Insurance Agreement
           or lease is for and the                                                   Captive- Mangrove Insurance Solutions
           nature of the debtor’s                                                    C/O Marsh Management Services
           interest                                                                  463 Mountain View Drive, Suite 301
           State the term             Undetermined                                   Colchester, VT 5446
           remaining
           List the contract number
           of any government
           contract

  2.36     State what the contract    ISP Agreement
           or lease is for and the                                                   Central Jet Service
           nature of the debtor’s                                                    Danny Aiello
           interest                                                                  2030 Warren Dr
           State the term             Undetermined                                   Marshall, TX 75672
           remaining
           List the contract number
           of any government
           contract

  2.37     State what the contract    ISP Agreement
           or lease is for and the                                                   Channel Islands Aviation
           nature of the debtor’s                                                    305 Durley Ave
           interest                                                                  Camarillo, CA 93010
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.38     State what the contract    Offer Letter
           or lease is for and the                                                   Chris Ahn - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.39     State what the contract    Offer Letter
           or lease is for and the                                                   Christopher J. Mack - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.40     State what the contract    Insurance Agreement
           or lease is for and the                                                   Chubb Seguros Mexico, S.A.
           nature of the debtor’s                                                    Paseo de la Reforma 250 Torre Niza
           interest                                                                  Piso 7 Col. Juárez, Cuauhtémoc
           State the term             Undetermined                                   Ciudad. de México 6600
           remaining
           List the contract number
           of any government
           contract

  2.41     State what the contract    Pilot Services Agreement
           or lease is for and the                                                   Chuck Coleman - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.42     State what the contract    ISP Agreement
           or lease is for and the                                                   Coachella Valley Aviation Company
           nature of the debtor’s                                                    Francisco Esquivel
           interest                                                                  79880 Ave 42
           State the term             Undetermined                                   Hangar A
           remaining                                                                 Bermuda Dunes, CA 92203
           List the contract number
           of any government
           contract

  2.43     State what the contract    Fuel Services Agreement
           or lease is for and the                                                   County of Solano
           nature of the debtor’s                                                    301 Airport Rd
           interest                                                                  Ste 205
           State the term             Undetermined                                   Vacaville, CA 95688
           remaining
           List the contract number
           of any government
           contract

  2.44     State what the contract    Through the Fence Airport Access Agreement
           or lease is for and the                                                   County of Solano
           nature of the debtor’s                                                    301 Airport Rd
           interest                                                                  Ste 205
           State the term             Undetermined                                   Vacaville, CA 95688
           remaining
           List the contract number
           of any government
           contract

  2.45     State what the contract    Consultant Agreement
           or lease is for and the                                                   Daniel Crawford - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.46     State what the contract    Offer Letter
           or lease is for and the                                                   Daniel Dumlao - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.47     State what the contract    Offer Letter
           or lease is for and the                                                   Daniel Mertesdorf - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.48     State what the contract    Severance Agreement
           or lease is for and the                                                   Daniel Mertesdorf - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.49     State what the contract    Aircraft Purchase Agreement
           or lease is for and the                                                   Daniel Milstein - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.50     State what the contract    Pilot Services Agreement
                                                                                     Danielle Fernandez - Address Redacted
           or lease is for and the
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.51     State what the contract    Offer Letter
           or lease is for and the                                                   David Cervizzi - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.52     State what the contract    Aircraft Purchase Agreement
           or lease is for and the                                                   David Zook - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.53     State what the contract    ISP Agreement
           or lease is for and the                                                   DC Aviation
           nature of the debtor’s                                                    5231 Johnny Reaver Road Hangar A1
           interest                                                                  Panama City, FL 32409
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.54     State what the contract    Offer Letter
           or lease is for and the                                                   Devon Woodruff - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.55     State what the contract    Consultant Agreement
           or lease is for and the                                                   Didier Makowski - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.56     State what the contract    ISP Agreement
                                                                                     DLK Aviation
           or lease is for and the
           nature of the debtor’s                                                    2601 Cessna Ln NW
           interest                                                                  Kennesaw, GA 30144
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.57     State what the contract    Pilot Services Agreement
           or lease is for and the                                                   Elina Azcurra Lunin - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________           Case number (if known) 24-10703________________________________________
         Name
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  2.58     State what the contract    Pilot Services Agreement
           or lease is for and the                                                   Emily harrison Ross - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.59     State what the contract    Consultant Agreement
           or lease is for and the                                                   Eric Ketner - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.60     State what the contract    Offer Letter
           or lease is for and the                                                   Eric VanAcker - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.61     State what the contract    Aircraft Operating Agreements
           or lease is for and the                                                   Erich Roeder - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.62     State what the contract    ISP Agreement
                                                                                     Estherville Aviation, Inc.
           or lease is for and the
           nature of the debtor’s                                                    1672 425th Ave
           interest                                                                  Estherville, IA 51334
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.63     State what the contract    Insurance Agreement
           or lease is for and the                                                   Everest National Insurance Company
           nature of the debtor’s                                                    477 Martinsville Road
           interest                                                                  P.O. Box 830
           State the term             Undetermined                                   Liberty Corner, NJ 07938-0830
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.64     State what the contract    ISP Agreement
           or lease is for and the                                                   Exec Aero LLC
           nature of the debtor’s                                                    83 Nilson Way
           interest                                                                  Orlando, FL 32803
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.65     State what the contract    ISP Agreement
           or lease is for and the                                                   Executive Air Transport Inc.
           nature of the debtor’s                                                    103 Sinclair Dr
           interest                                                                  Muskegon, MI 49441
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.66     State what the contract    Intellectual Property License Agreement
           or lease is for and the                                                   FEIREN International
           nature of the debtor’s                                                    12/F, Henley Building, 5 Queen's Road Central
           interest                                                                  Hongkong
           State the term             Undetermined                                   China
           remaining
           List the contract number
           of any government
           contract

  2.67     State what the contract    Letter Agreement
           or lease is for and the                                                   Feiren International Co., Limited
           nature of the debtor’s                                                    5 Queen's Road Central
           interest                                                                  Henley Building 12/F Central
           State the term             Undetermined                                   Honk Kong
           remaining
           List the contract number
           of any government
           contract

  2.68     State what the contract    Letter Agreement
           or lease is for and the                                                   Feiren International Co., Limited
           nature of the debtor’s                                                    5 Queen's Road Central
           interest                                                                  Henley Building 12/F Central
           State the term             Undetermined                                   Honk Kong
           remaining
           List the contract number
           of any government
           contract

  2.69     State what the contract    Letter Agreement
           or lease is for and the                                                   Feiren International Co., Limited
           nature of the debtor’s                                                    5 Queen's Road Central
           interest                                                                  Henley Building 12/F Central
           State the term             Undetermined                                   Honk Kong
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.70     State what the contract    Letter Agreement
           or lease is for and the                                                   Feiren International Co., Limited
           nature of the debtor’s                                                    5 Queen's Road Central
           interest                                                                  Henley Building 12/F Central
           State the term             Undetermined                                   Honk Kong
           remaining
           List the contract number
           of any government
           contract

  2.71     State what the contract    Offer Letter
           or lease is for and the                                                   Ferdinand "Dex" Manalili - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.72     State what the contract    Manufacturing Services And Supply Agreement
           or lease is for and the                                                   Fictiv Inc.
           nature of the debtor’s                                                    Attn: Eddie Chen
           interest                                                                  168 Welsh St, #A
           State the term             Undetermined                                   San Francisco, CA 94107
           remaining
           List the contract number
           of any government
           contract

  2.73     State what the contract    ISP Agreement
           or lease is for and the                                                   Flight Logix LLC
           nature of the debtor’s                                                    4510 Airport Road
           interest                                                                  Cincinnati, OH 45226
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.74     State what the contract    ISP Agreement
           or lease is for and the                                                   flyAdvanced
           nature of the debtor’s                                                    1501 Narcissa Rd
           interest                                                                  Blue Bell, PA 19422
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.75     State what the contract    Offer Letter
           or lease is for and the                                                   Gaelan Shaughn-Thomas Kamin - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.76     State what the contract    Offer Letter
           or lease is for and the                                                   Gary-James Knight - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.77     State what the contract    Pilot Services Agreement
           or lease is for and the                                                   Genesah Duffy - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.78     State what the contract    Offer Letter
           or lease is for and the                                                   George Jones - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.79     State what the contract    Severance Agreement
           or lease is for and the                                                   George Jones - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.80     State what the contract    Executive Employment Agreement
           or lease is for and the                                                   Gerald [Jerry] Meyer - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.81     State what the contract    Indemnification Agreement
           or lease is for and the                                                   Gerald [Jerry] Meyer - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.82     State what the contract    ISP Agreement
           or lease is for and the                                                   Gibbs Service Center. Inc.
           nature of the debtor’s                                                    8912 Aero Dr
           interest                                                                  San Diego, CA 92123
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.83     State what the contract    ISP Agreement
           or lease is for and the                                                   Giving Wings Aviation
           nature of the debtor’s                                                    1170 Airport Access Rd #P
           interest                                                                  Traverse City, MI 49686
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.84     State what the contract    Insurance Agreement
           or lease is for and the                                                   Great American
           nature of the debtor’s                                                    PO Box 5425
           interest                                                                  Cincinnati, OH 45201-5425
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.85     State what the contract    ISP Agreement
           or lease is for and the                                                   Great Lakes Aero Products
           nature of the debtor’s                                                    915 Kearsley Park Blvd
           interest                                                                  Flint, MI 48503
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.86     State what the contract    ISP Agreement
           or lease is for and the                                                   Great Lakes Icon
           nature of the debtor’s                                                    PO Box 123
           interest                                                                  Shipshewana, IN 46565
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.87     State what the contract    Offer Letter
           or lease is for and the                                                   Hank Blair - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________           Case number (if known) 24-10703________________________________________
         Name
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  2.88     State what the contract    ISP Agreement
           or lease is for and the                                                   Heavy Metal Air
           nature of the debtor’s                                                    67 Tower Road
           interest                                                                  Hanger T
           State the term             Undetermined                                   White Plains, NY 10604
           remaining
           List the contract number
           of any government
           contract

  2.89     State what the contract    ISP Agreement
           or lease is for and the                                                   Heavy Metal Air (KHPN)
           nature of the debtor’s                                                    67 Tower RD, Westchester county airport
           interest                                                                  West Harrison, NY 10604
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.90     State what the contract    ISP Agreement
           or lease is for and the                                                   Hillsboro Aviation, Inc.
           nature of the debtor’s                                                    3845 NE 30th Ave
           interest                                                                  Hillsboro, OR 97124
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.91     State what the contract    Space Rental Agreement
           or lease is for and the                                                   Hillsborough County Aviation Authority
           nature of the debtor’s                                                    P.O. Box 22287
           interest                                                                  Tampa, FL 33622
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.92     State what the contract    Insurance Agreement
           or lease is for and the                                                   Hudson Insurance Group
           nature of the debtor’s                                                    100 William Street, 5th Floor
           interest                                                                  New York, NY 10038
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.93     State what the contract    Consultant Agreement
           or lease is for and the                                                   Hussein Harb - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.94     State what the contract    ISP Agreement
           or lease is for and the                                                   Ideal Aviation
           nature of the debtor’s                                                    5200 Omega Dr
           interest                                                                  Sauget, IL 62206
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.95     State what the contract    Offer Letter
           or lease is for and the                                                   Jake Fenton - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.96     State what the contract    ISP Agreement
           or lease is for and the                                                   James E Andrews Jr - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.97     State what the contract    Memorandum Of Understanding Service And
           or lease is for and the    Support                                        James E. Andrews Jr - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.98     State what the contract    Icon Advocate Memorandum Of Understanding
           or lease is for and the                                                   James E. Andrews Jr - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.99     State what the contract    Non-Disclosure Agreement
           or lease is for and the                                                   James E. Andrews Jr. - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract
Debtor   ICON Aircraft, Inc.______________________________________________________         Case number (if known) 24-10703________________________________________
         Name
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  2.100 State what the contract     Offer Letter
        or lease is for and the                                                      Jason Courtney - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.101 State what the contract     Offer Letter
        or lease is for and the                                                      Jason Huang - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.102 State what the contract     Indemnification Agreement
        or lease is for and the                                                      Jason Huang - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.103 State what the contract     Proprietary Information And Invention
        or lease is for and the     Assignment Agreement                             Jason Huang - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.104 State what the contract     Non-Disclosure Agreement
        or lease is for and the                                                      Jason Huang - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.105 State what the contract     ISP Agreement
        or lease is for and the                                                      JED-AIRE Aviation
        nature of the debtor’s                                                       340 20th Street NW
        interest                                                                     Benson, MN 56215
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.106 State what the contract     ISP Agreement
        or lease is for and the                                                      Jeff Smith - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.107 State what the contract     Offer Letter
        or lease is for and the                                                      Jennifer Donohue - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.108 State what the contract     Proprietary Information And Invention
        or lease is for and the     Assignment Agreement                             Jerry Meyer - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.109 State what the contract     ISP Agreement
        or lease is for and the                                                      Jet Air Group
        nature of the debtor’s                                                       1921 Airport Dr
        interest                                                                     Green Bay, WI 54313
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.110 State what the contract     ISP Agreement
        or lease is for and the                                                      Jetran, LLC
        nature of the debtor’s                                                       1449 Airpark
        interest                                                                     Horseshoe Bay, TX 78657
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.111 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Joanna McPherson - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________         Case number (if known) 24-10703________________________________________
         Name
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  2.112 State what the contract     Consultant Agreement
        or lease is for and the                                                      John Mavronicles - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.113 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      John Staines - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.114 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Johnathan Spano - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.115 State what the contract     Offer Letter
        or lease is for and the                                                      Jorge Angel - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.116 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Joseph Rubino - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.117 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Juan L Dominguez - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.118 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Justin R Simpson - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.119 State what the contract     Offer Letter
        or lease is for and the                                                      Karina A Sanchez - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.120 State what the contract     Offer Letter
        or lease is for and the                                                      Kavita Pahuja - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.121 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Kaylee Brown - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.122 State what the contract     Offer Letter
        or lease is for and the                                                      Kevin D. Golden - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.123 State what the contract     Offer Letter
        or lease is for and the                                                      Kevin D. Golden - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.124 State what the contract     Severance Agreement
        or lease is for and the                                                      Kevin D. Golden - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.125 State what the contract     Offer Letter
        or lease is for and the                                                      Kevin Strange - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.126 State what the contract     Aircraft Operating Agreements
        or lease is for and the                                                      Kevin Wexler - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.127 State what the contract     Oem Customer Requirements Of Kodiak
        or lease is for and the     Research Ltd.                                    Kodiak Research LTD (Nassau Bahamas Authorised Distributor of ROTAX Aircraft
        nature of the debtor’s                                                       Engines)
        interest                                                                     Coral Harbour Rd
        State the term              Undetermined                                     Nassau International Airport Coral Harbour Road PO Box SS 6758
        remaining                                                                    Nassau 0
        List the contract number                                                     NP
        of any government
        contract

  2.128 State what the contract     Offer Letter
        or lease is for and the                                                      Kristen Eckman - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.129 State what the contract     Insurance Agreement
        or lease is for and the                                                      Landmark American Insurance Company (RSUI)
        nature of the debtor’s                                                       945 E. Paces Ferry Rd.
        interest                                                                     Suite 1800
        State the term              Undetermined                                     Atlanta, GA 30325
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.130 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Lauren Herbert - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.131 State what the contract     Insurance Agreement
        or lease is for and the                                                      Liberty Mutual Insurance Company
        nature of the debtor’s                                                       175 Berkeley Street
        interest                                                                     Boston, MA 2116
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.132 State what the contract     Insurance Agreement
        or lease is for and the                                                      Lloyd's Syndicate 0609 AUW
        nature of the debtor’s                                                       One Lime Street
        interest                                                                     London EC3M 7HA
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.133 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Luke A. Christian - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.134 State what the contract     ISP Agreement
        or lease is for and the                                                      M1 Aviation, LLC
        nature of the debtor’s                                                       12506 Mixson Dr
        interest                                                                     Austin, TX 78732
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.135 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Malcolm Dickision - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.136 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Maldinado Medina Luis Ramon - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.137 State what the contract     Offer Letter
        or lease is for and the                                                      Mandy Chung - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.138 State what the contract     Consultant Agreement
        or lease is for and the                                                      Manning Group, LLC - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.139 State what the contract     Offer Letter
        or lease is for and the                                                      Maria Odena - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.140 State what the contract     Offer Letter
        or lease is for and the                                                      Marleo Dedace - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.141 State what the contract     Offer Letter
        or lease is for and the                                                      Marlon Mallari - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
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  2.142 State what the contract     Insurance Agreement
        or lease is for and the                                                      Marsh LLC
        nature of the debtor’s                                                       633 W. Fifth Street, Suite 1200
        interest                                                                     Los Angeles, CA 90071
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.143 State what the contract     ISP Agreement
        or lease is for and the                                                      McClymond Aviation, LLC
        nature of the debtor’s                                                       2874 Aviators Way
        interest                                                                     Grand Junction, CO 81506
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.144 State what the contract     Offer Letter
        or lease is for and the                                                      Megan Bahls - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.145 State what the contract     Offer Letter
        or lease is for and the                                                      Melchor Pananganan - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.146 State what the contract     Consultant Agreement
        or lease is for and the                                                      Michael Zajac - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.147 State what the contract     Aircraft License And Marketing Agreement
        or lease is for and the                                                      Microsoft
        nature of the debtor’s                                                       1 Microsoft Way
        interest                                                                     Redmond, WA 98052-6399
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.148 State what the contract     ISP Agreement
        or lease is for and the                                                      Mid Island Air Service
        nature of the debtor’s                                                       101 Hering Dr
        interest                                                                     Ronkonkoma, NY 11779
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.149 State what the contract     Offer Letter
        or lease is for and the                                                      Miguel Padilla Perez - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.150 State what the contract     Insurance Agreement
        or lease is for and the                                                      National Union Fire Insurance Company of Pittsburgh, PA
        nature of the debtor’s                                                       1271 Ave. of the Americas, Fl. 37
        interest                                                                     New York, NY 10020-1304
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.151 State what the contract     ISP Agreement
        or lease is for and the                                                      Neptune Aviation
        nature of the debtor’s                                                       4301 Corporate Way
        interest                                                                     Missoula, MT 59808
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.152 State what the contract     Offer Letter
        or lease is for and the                                                      Noah Collins - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.153 State what the contract     Offer Letter
        or lease is for and the                                                      Noel Hurtado - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.154 State what the contract       ISP Agreement
        or lease is for and the                                                      NorthWest Flight Service
        nature of the debtor’s                                                       5503 E Rutter
        interest                                                                     Spokane, WA 99212
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.155 State what the contract       ISP Agreement
        or lease is for and the                                                      Paragon Aircraft Service, Inc.
        nature of the debtor’s                                                       19 Wright Way
        interest                                                                     Fairfield, NJ 07004
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.156 State what the contract       Offer Letter
        or lease is for and the                                                      Patrick "Andy" Jackson - Address Redacted
        nature of the debtor’s
        interest
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.157 State what the contract       ISP Agreement
        or lease is for and the                                                      Patton Aviation, LLC
        nature of the debtor’s                                                       2491 Overlook Dr
        interest                                                                     Billings, MT 59105
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.158 State what the contract       Offer Letter
                                                                                     Paul Nyhart - Address Redacted
           or lease is for and the
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.159 State what the contract       Aircraft Operating Agreements
        or lease is for and the                                                      Peter Roberts - Address Redacted
        nature of the debtor’s
        interest
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.160 State what the contract     ISP Agreement
        or lease is for and the                                                      Phoenyx Aviation Services (KBPT)
        nature of the debtor’s                                                       455 Keith Rd
        interest                                                                     Beaumont, TX 77713
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.161 State what the contract     ISP Agreement
        or lease is for and the                                                      Propilot, LLC
        nature of the debtor’s                                                       Lot 10 South Side Isla Grande Airport
        interest                                                                     San Juan, PR 00907
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.162 State what the contract     Offer Letter
        or lease is for and the                                                      Rafael Crispin Alejandrino - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.163 State what the contract     Offer Letter
        or lease is for and the                                                      Randy R. Penning - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.164 State what the contract     Insurance Agreement
        or lease is for and the                                                      Republic – Vanguard Insurance Company, An Amtrust Financial Company
        nature of the debtor’s                                                       800 Superior Ave E., 21st Floor
        interest                                                                     Cleveland, OH 44114
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.165 State what the contract     Offer Letter
        or lease is for and the                                                      Rhenz Aquino - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
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  2.166 State what the contract       Consultant Agreement
        or lease is for and the                                                      Richard Bookbinder - Address Redacted
        nature of the debtor’s
        interest
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.167 State what the contract       Aircraft Purchase Agreement
        or lease is for and the                                                      Richard T Violette Jr - Address Redacted
        nature of the debtor’s
        interest
        State the term                Undetermined
        remaining
           List the contract number
           of any government
           contract

  2.168 State what the contract       Aircraft Operating Agreements
        or lease is for and the                                                      Rick Spinner - Address Redacted
        nature of the debtor’s
        interest
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.169 State what the contract       Consultant Agreement
        or lease is for and the                                                      Robby Bonanno - Address Redacted
        nature of the debtor’s
        interest
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.170 State what the contract       Distribution Agreement
        or lease is for and the                                                      Robins Aircraft CO d/b/a ICON Korea
        nature of the debtor’s                                                       PO Box 8672
        interest                                                                     Warner Robins, GA 31095
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.171 State what the contract       Offer Letter
        or lease is for and the                                                      Rodolfo Correa - Address Redacted
        nature of the debtor’s
        interest
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.172 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Ronald Hubble - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.173 State what the contract     Offer Letter
        or lease is for and the                                                      Rong (Kino) Fan - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.174 State what the contract     Offer Letter
        or lease is for and the                                                      Ryan Sims - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.175 State what the contract     Offer Letter
        or lease is for and the                                                      Ryuya Iwase - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.176 State what the contract     Salesforce, Inc. Order Form
        or lease is for and the                                                      Salesforce, Inc.
        nature of the debtor’s                                                       415 Mission St
        interest                                                                     3rd Floor
        State the term              Undetermined                                     San Francisco, CA 94105
        remaining
        List the contract number
        of any government
        contract

  2.177 State what the contract     Offer Letter
        or lease is for and the                                                      Sam Striplin - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
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  2.178 State what the contract       ISP Agreement
        or lease is for and the                                                      Sandpiper Air Inc
        nature of the debtor’s                                                       1513 Airport Rd
        interest                                                                     New Bedford, MA 02746
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.179 State what the contract       ISP Agreement
        or lease is for and the                                                      SBI Aircraft Services Laconia, DBA Sky Bright
        nature of the debtor’s                                                       65 Aviation Way
        interest                                                                     Gilford, NH 03249-6680
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.180 State what the contract       Offer Letter
        or lease is for and the                                                      Scott Rodenbeck - Address Redacted
        nature of the debtor’s
        interest
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.181 State what the contract       ISP Agreement
        or lease is for and the                                                      Sea Wings Aviation
        nature of the debtor’s                                                       Aeropuerto Internacional La Isabela Dr Joaquin Balanguer Hangar 41
        interest
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.182 State what the contract       Offer Letter
           or lease is for and the                                                   Sean E Stamps - Address Redacted
           nature of the debtor’s
           interest
           State the term             Undetermined
           remaining
           List the contract number
           of any government
           contract

  2.183 State what the contract       ISP Agreement
        or lease is for and the                                                      Security Aviation (KHHR)
        nature of the debtor’s                                                       Hawthorne Municipal Airport 12016 South Prairie Avenue
        interest                                                                     Hawthorne, CA 90250
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________         Case number (if known) 24-10703________________________________________
         Name
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  2.184 State what the contract     Agreement
        or lease is for and the                                                      Shapeways Holdings, Inc.
        nature of the debtor’s                                                       Attn: Legal Department
        interest                                                                     228 Park Ave S
        State the term              Undetermined                                     PMB 15839
        remaining                                                                    New York, NY 10003
        List the contract number
        of any government
        contract

  2.185 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Sho Koshijima - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.186 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Sho Koshijima - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
           contract

  2.187 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Sho Koshijima - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.188 State what the contract     ISP Agreement
        or lease is for and the                                                      Silverhawk Aviation
        nature of the debtor’s                                                       1751 W Kearney Ave
        interest                                                                     Lincoln, NE 68524
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.189 State what the contract     Offer Letter
        or lease is for and the                                                      Simi Gupta - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
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  2.190 State what the contract       Aircraft Operating Agreements
        or lease is for and the                                                      Skyryse, Inc.
        nature of the debtor’s                                                       777 S. Aviation Blvd.
        interest                                                                     El Segundo, CA 90245
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.191 State what the contract       Purchase Order Agreement
        or lease is for and the                                                      Skyryse, Inc.
        nature of the debtor’s                                                       777 S. Aviation Blvd.
        interest                                                                     El Segundo, CA 90245
        State the term                Undetermined
        remaining
           List the contract number
           of any government
           contract

  2.192 State what the contract       Consultant Agreemen
        or lease is for and the                                                      Slabtown Creative LLC
        nature of the debtor’s                                                       4350 SW 107th Ave
        interest                                                                     Beaverton, OR 97705
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.193 State what the contract       Insurance Agreement
        or lease is for and the                                                      Sompo International Insurance
        nature of the debtor’s                                                       Commercial Management Liability
        interest                                                                     Attn: Professional Lines Underwriting Department
        State the term                Undetermined                                   1221 Avenue of The Americas
        remaining                                                                    New York, NY 10020
        List the contract number
        of any government
        contract

  2.194 State what the contract       Insurance Agreement
        or lease is for and the                                                      Starr Indemnity & Liability Co.
        nature of the debtor’s                                                       399 Park Avenue
        interest                                                                     New York, NY 10022
        State the term                Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.195 State what the contract       Insurance Agreement
        or lease is for and the                                                      Starr Surplus Lines Ins Co via Starr Aviation
        nature of the debtor’s                                                       399 Park Avenue
        interest                                                                     2nd Floor
        State the term                Undetermined                                   New York, NY 10022
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.196 State what the contract     Offer Letter
        or lease is for and the                                                      Steven Bletsch - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.197 State what the contract     Streamline Certification Proposal
        or lease is for and the                                                      Streamline Designs, LLC
        nature of the debtor’s                                                       1726 S. Centerline Rd
        interest                                                                     Franklin, CA 46131
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.198 State what the contract     The “Streamline Support Proposal
        or lease is for and the                                                      Streamline Designs, LLC
        nature of the debtor’s                                                       1726 S. Centerline Rd
        interest                                                                     Franklin, CA 46131
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.199 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Suzanne Clavette - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.200 State what the contract     Consultant Agreement
        or lease is for and the                                                      Tango November LLC - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.201 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Terry Hayes - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.202 State what the contract     Offer Letter
        or lease is for and the                                                      Theodore Coldren - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.203 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Thomas Beattie - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.204 State what the contract     Severance Agreement
        or lease is for and the                                                      Thomas Horgan - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.205 State what the contract     Offer Letter
        or lease is for and the                                                      Tom Horgan - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.206 State what the contract     ISP Agreement
        or lease is for and the                                                      Tom Wood Aviation
        nature of the debtor’s                                                       9913 Willow View Rd
        interest                                                                     Fishers, IN 46038
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.207 State what the contract     Lease And Bailment Agreement
        or lease is for and the                                                      Tomas Alva Edison Industrial Park, S. de R.L. de C.V.
        nature of the debtor’s                                                       Paseo de los Héroes #10027-201C, Zona Río
        interest                                                                     Tijuana, Baja California
        State the term              Undetermined                                     Mexico
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
         Name
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  2.208 State what the contract     Lease Guaranty
        or lease is for and the                                                      Tomas Alva Edison Industrial Park, S. de R.L. de C.V.
        nature of the debtor’s                                                       Paseo de los Héroes #10027-201C, Zona Río
        interest                                                                     Tijuana, Baja California
        State the term              Undetermined                                     Mexico
        remaining
        List the contract number
        of any government
        contract

  2.209 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Tony Pollizzi - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.210 State what the contract     ISP Agreement
        or lease is for and the                                                      Travel Express Aviation Maintenance, Inc.
        nature of the debtor’s                                                       3N060 Powis Rd
        interest                                                                     West Chicago, IL 60185
        State the term              Undetermined
        remaining
        List the contract number
        of any government
           contract

  2.211 State what the contract     Insurance Agreement
        or lease is for and the                                                      Travelers Indemnity Company of Connecticut
        nature of the debtor’s                                                       One Tower Square
        interest                                                                     Hartford, CT 6183
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.212 State what the contract     Insurance Agreement
        or lease is for and the                                                      Travelers Property Casualty Company of America
        nature of the debtor’s                                                       One Tower Square
        interest                                                                     Hartford, CT 6183
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.213 State what the contract     Consulting Agreement Amendment 05.04.23
        or lease is for and the                                                      Trenace (Naci) Burrows - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
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  2.214 State what the contract     Services Support Package
        or lease is for and the                                                      TriStar Inc.
        nature of the debtor’s                                                       3740 E La Salle St
        interest                                                                     Phoenix, AZ 85040
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.215 State what the contract     Aircraft Operating Agreements
        or lease is for and the                                                      Troy Mutter - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.216 State what the contract     ISP Agreement
        or lease is for and the                                                      Twin Cities Aviy
        nature of the debtor’s                                                       9833 N Airport Rd NE
        interest                                                                     Ste 101
        State the term              Undetermined                                     Blaine, MN 55449
        remaining
        List the contract number
        of any government
        contract

  2.217 State what the contract     Pilot Services Agreement
        or lease is for and the                                                      Twin Cities Malibu LLC
        nature of the debtor’s                                                       215 10th Ave S
        interest                                                                     Unit 711
        State the term              Undetermined                                     Minneapolis, MN 55415
        remaining
        List the contract number
        of any government
        contract

  2.218 State what the contract     Aircraft Purchase Agreement
        or lease is for and the                                                      Victor M Ballestas - Address Redacted
        nature of the debtor’s
        interest
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.219 State what the contract     ISP Agreement
        or lease is for and the                                                      Victory Lane Aviation, LLC
        nature of the debtor’s                                                       9200 B Aviation Blvd
        interest                                                                     Concord, NC 28027
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
Debtor   ICON Aircraft, Inc.______________________________________________________          Case number (if known) 24-10703________________________________________
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  2.220 State what the contract     ISP Agreement
        or lease is for and the                                                      Vortex Aviation Maintenance Inc.
        nature of the debtor’s                                                       PO Box 250448
        interest                                                                     Aguadilla, PR 00604
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract

  2.221 State what the contract     Lease Agreement
        or lease is for and the                                                      W Fund B, LP
        nature of the debtor’s                                                       C/O Buzz Oates Management Services, Inc.
        interest                                                                     Attn: Liz Ferneau and Yvette Perry
        State the term              Undetermined                                     555 Capitol Mall, Suite 900
        remaining                                                                    Sacramento, CA 95814
        List the contract number
        of any government
        contract

  2.222 State what the contract     ISP Agreement
        or lease is for and the                                                      Waterford Aviation, Inc.
        nature of the debtor’s                                                       6548 Highland Rd
        interest                                                                     Ste 900
        State the term              Undetermined                                     Waterford, MI 48327
        remaining
        List the contract number
        of any government
        contract

  2.223 State what the contract     ISP Agreement
        or lease is for and the                                                      Wright Aviation (KDXR)
        nature of the debtor’s                                                       81 Kenosia Ave
        interest                                                                     Danbury, CT 06810
        State the term              Undetermined
        remaining
        List the contract number
        of any government
        contract
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  Fill in this information to identify the case:

  Debtor name: ICON Aircraft, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        Check if this is an
  Case number: 24-10703
                                                                                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

      No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

      Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
                                                                                                   East West Bank - Line 3.29                                              D
                                  Pudong Science and Technology Investment Cayman
                                  Co., Ltd.                                                                                                                                E/F
                                  46F, Building 1, Lujiazui Century Financial Plaza
                                  No. 729 South Yanggao Road, Pudong                                                                                                       G
                                  Shanghai 200127
                                  China


2.2
                                                                                                   East West Bank - Line 3.30                                              D
                                  Pudong Science and Technology Investment Cayman
                                  Co., Ltd.                                                                                                                                E/F
                                  46F, Building 1, Lujiazui Century Financial Plaza
                                  No. 729 South Yanggao Road, Pudong                                                                                                       G
                                  Shanghai 200127
                                  China


2.3
                                                                                                   East West Bank - Line 3.31                                              D
                                  Pudong Science and Technology Investment Cayman
                                  Co., Ltd.                                                                                                                                E/F
                                  46F, Building 1, Lujiazui Century Financial Plaza
                                  No. 729 South Yanggao Road, Pudong                                                                                                       G
                                  Shanghai 200127
                                  China
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  Fill in this information to identify the case:

  Debtor name: ICON Aircraft, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                     Check if this is an
  Case number: 24-10703
                                                                                                                                                     amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

05/09/2024                                                                             /s/ Thomas M. McCabe

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Thomas M. McCabe

                                                                                       Printed name
                                                                                       Chief Restructuring Officer

                                                                                       Position or relationship to debtor
